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                                     Exhibit 1




{1368.001-W0069503.}
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                                                             Results of Connections Check



No.                            Category                                      Entity Name (Full Name as per PIIL)          Connection   No Connection
 1    5% or More Equity Holders                             Edward Moncada                                                                   X
 2    5% or More Equity Holders                             Nishad Singh                                                                     X
                                                                          1
 3    5% or More Equity Holders                             Name on File                                                                     X
 4    5% or More Equity Holders                             Samuel Bankman-Fried                                                             X
 5    5% or More Equity Holders                             Zixiao Wang                                                                      X
 6    Ad Hoc Committee (Non US Customers of FTX.com)        Eversheds Sutherland (Us) LLP                                                    X
 7    Ad Hoc Committee (Non US Customers of FTX.com)        Morris, Nichols, Arsht & Tunnell LLP                                             X
 8    Bankruptcy Judges                                     Ashely M. Chan                                                                   X
 9    Bankruptcy Judges                                     Brendan L. Shannon                                                               X
10    Bankruptcy Judges                                     Craig T. Goldblatt                                                               X
11    Bankruptcy Judges                                     John T. Dorsey                                                                   X
12    Bankruptcy Judges                                     Karen B. Owens                                                                   X
13    Bankruptcy Judges                                     Kate Stickles                                                                    X
14    Bankruptcy Judges                                     Laurie Selber Silverstein                                                        X
15    Bankruptcy Judges                                     Mary F. Walrath                                                                  X
16    Bankruptcy Judges                                     Una O'Boyle (Clerk of Court)                                                     X
17    Bankruptcy Professionals                              Quinn Emanuel Urquhart & Sullivan, LLP                            X
18    Bankruptcy Professionals                              AlixPartners, LLP                                                 X
19    Bankruptcy Professionals                              Alvarez & Marsal North America, LLC                                             X
20    Bankruptcy Professionals                              Kroll Restructuring Administration                                              X
21    Bankruptcy Professionals                              Landis Rath & Cobb LLP                                                          X
22    Bankruptcy Professionals                              Perella Weinberg Partners                                         X
23    Bankruptcy Professionals                              Sullivan & Cromwell LLP                                           X
24    Banks/Lender/UCC Lien Parties/Administrative Agents   AKBANK                                                            X
25    Banks/Lender/UCC Lien Parties/Administrative Agents   Apple Business                                                                  X
26    Banks/Lender/UCC Lien Parties/Administrative Agents   Bank of America                                                   X
27    Banks/Lender/UCC Lien Parties/Administrative Agents   Bank of Cyprus                                                    X
28    Banks/Lender/UCC Lien Parties/Administrative Agents   BCB Bank                                                                        X
29    Banks/Lender/UCC Lien Parties/Administrative Agents   BMO Harris Bank, N.A.                                             X
30    Banks/Lender/UCC Lien Parties/Administrative Agents   Circle Internet Financial, Inc.                                   X
31    Banks/Lender/UCC Lien Parties/Administrative Agents   Commercial Bank of Dubai                                          X
32    Banks/Lender/UCC Lien Parties/Administrative Agents   Commerical Bank of Vietnam                                                      X
33    Banks/Lender/UCC Lien Parties/Administrative Agents   Customers Bank                                                                  X
34    Banks/Lender/UCC Lien Parties/Administrative Agents   DBS Bank Limited                                                  X
35    Banks/Lender/UCC Lien Parties/Administrative Agents   Deltec                                                            X
36    Banks/Lender/UCC Lien Parties/Administrative Agents   ED&F Man Holdings Inc.                                            X
37    Banks/Lender/UCC Lien Parties/Administrative Agents   Emirate NBD Bank                                                  X
38    Banks/Lender/UCC Lien Parties/Administrative Agents   Equity Bank                                                       X
39    Banks/Lender/UCC Lien Parties/Administrative Agents   Etana                                                             X
40    Banks/Lender/UCC Lien Parties/Administrative Agents   Eurobank                                                          X
41    Banks/Lender/UCC Lien Parties/Administrative Agents   Evolve Bank and Trust                                                           X
42    Banks/Lender/UCC Lien Parties/Administrative Agents   Far Eastern Int'l Bank                                                          X
43    Banks/Lender/UCC Lien Parties/Administrative Agents   Fibabanka                                                         X
44    Banks/Lender/UCC Lien Parties/Administrative Agents   Fidelity Bank (Bahamas)                                           X
45    Banks/Lender/UCC Lien Parties/Administrative Agents   Garanti BBVA                                                                    X
46    Banks/Lender/UCC Lien Parties/Administrative Agents   Goldfields Money                                                  X
47    Banks/Lender/UCC Lien Parties/Administrative Agents   HDFC Bank                                                         X
48    Banks/Lender/UCC Lien Parties/Administrative Agents   HSBC Bank                                                         X
49    Banks/Lender/UCC Lien Parties/Administrative Agents   Interactive Brokers                                               X
50    Banks/Lender/UCC Lien Parties/Administrative Agents   JPMorgan Chase Bank, N.A.                                         X
51    Banks/Lender/UCC Lien Parties/Administrative Agents   Jtrust Bank                                                                     X
52    Banks/Lender/UCC Lien Parties/Administrative Agents   Klarpay                                                                         X
53    Banks/Lender/UCC Lien Parties/Administrative Agents   LendingClub                                                       X
54    Banks/Lender/UCC Lien Parties/Administrative Agents   Maerki Baumann & Co. AG                                                         X
55    Banks/Lender/UCC Lien Parties/Administrative Agents   Moneytech                                                         X
56    Banks/Lender/UCC Lien Parties/Administrative Agents   Moonstone Bank                                                                  X
57    Banks/Lender/UCC Lien Parties/Administrative Agents   Morgan Stanley                                                    X
58    Banks/Lender/UCC Lien Parties/Administrative Agents   MUFG Bank, LTD.                                                   X
59    Banks/Lender/UCC Lien Parties/Administrative Agents   National Australia Bank                                           X
60    Banks/Lender/UCC Lien Parties/Administrative Agents   Nium                                                              X
61    Banks/Lender/UCC Lien Parties/Administrative Agents   Nuvei                                                             X
62    Banks/Lender/UCC Lien Parties/Administrative Agents   Octabase                                                                        X
63    Banks/Lender/UCC Lien Parties/Administrative Agents   Omipay / Cuscal                                                                 X
64    Banks/Lender/UCC Lien Parties/Administrative Agents   PayPay Bank                                                       X
65    Banks/Lender/UCC Lien Parties/Administrative Agents   Paysafe                                                           X
66    Banks/Lender/UCC Lien Parties/Administrative Agents   Prime Trust LLC                                                   X
67    Banks/Lender/UCC Lien Parties/Administrative Agents   Rakuten Bank                                                      X
68    Banks/Lender/UCC Lien Parties/Administrative Agents   RJ O'Brien                                                                      X
69    Banks/Lender/UCC Lien Parties/Administrative Agents   SBI Sumishin Net Bank Ltd.                                        X
70    Banks/Lender/UCC Lien Parties/Administrative Agents   Signature Bank                                                    X
71    Banks/Lender/UCC Lien Parties/Administrative Agents   Signet                                                            X
72    Banks/Lender/UCC Lien Parties/Administrative Agents   Silicon Valley Bank                                               X
73    Banks/Lender/UCC Lien Parties/Administrative Agents   Silvergate Bank                                                   X




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No.                            Category                                      Entity Name (Full Name as per PIIL)          Connection   No Connection
74    Banks/Lender/UCC Lien Parties/Administrative Agents   Siraat Banksai                                                                   X
75    Banks/Lender/UCC Lien Parties/Administrative Agents   Standford Credit Union                                                           X
76    Banks/Lender/UCC Lien Parties/Administrative Agents   Strait X                                                                         X
77    Banks/Lender/UCC Lien Parties/Administrative Agents   Stripe                                                            X
78    Banks/Lender/UCC Lien Parties/Administrative Agents   Sumitomo Mitsui Banking Corporation (SMBC)                        X
79    Banks/Lender/UCC Lien Parties/Administrative Agents   Swapforex                                                                       X
80    Banks/Lender/UCC Lien Parties/Administrative Agents   Tokyo Star Bank                                                   X
81    Banks/Lender/UCC Lien Parties/Administrative Agents   Transactive                                                                     X
82    Banks/Lender/UCC Lien Parties/Administrative Agents   Transfero                                                                       X
83    Banks/Lender/UCC Lien Parties/Administrative Agents   Turicum                                                                         X
84    Banks/Lender/UCC Lien Parties/Administrative Agents   Vakifbank                                                         X
85    Banks/Lender/UCC Lien Parties/Administrative Agents   Volksbank Bayern Mitte eG                                                       X
86    Banks/Lender/UCC Lien Parties/Administrative Agents   Washington Business Bank                                                        X
87    Banks/Lender/UCC Lien Parties/Administrative Agents   Wells Fargo                                                       X
88    Banks/Lender/UCC Lien Parties/Administrative Agents   Western Alliance                                                  X
89    Banks/Lender/UCC Lien Parties/Administrative Agents   Zand Bank                                                                       X
90    Contract Counter-Parties                              AC Revocable Trust                                                              X
91    Contract Counter-Parties                              Adresana Limited                                                                X
92    Contract Counter-Parties                              AIM Sports, LLC                                                                 X
93    Contract Counter-Parties                              Name on File                                                                    X
94    Contract Counter-Parties                              Name on File                                                                    X
95    Contract Counter-Parties                              Name on File                                                                    X
96    Contract Counter-Parties                              Alpaca Crypto LLC                                                               X
97    Contract Counter-Parties                              AlteumX International S.A.                                                      X
98    Contract Counter-Parties                              Name on File                                                                    X
99    Contract Counter-Parties                              Name on File                                                                    X
100   Contract Counter-Parties                              Name on File                                                                    X
101   Contract Counter-Parties                              Name on File                                                                    X
102   Contract Counter-Parties                              Barstool Sports Inc.                                                            X
103   Contract Counter-Parties                              Billboard Media, LLC                                                            X
104   Contract Counter-Parties                              Binance Capital Management Co. Ltd.                               X
105   Contract Counter-Parties                              BitGo                                                                           X
106   Contract Counter-Parties                              BITOCTO                                                                         X
107   Contract Counter-Parties                              BlockFi Inc.                                                      X
108   Contract Counter-Parties                              Brandon Williams                                                  X
109   Contract Counter-Parties                              Brave Software International SEZC                                               X
110   Contract Counter-Parties                              Name on File                                                                    X
111   Contract Counter-Parties                              Cal Athletics                                                                   X
112   Contract Counter-Parties                              Chainalysis                                                       X
113   Contract Counter-Parties                              Coachella Music Festival, LLC                                                   X
114   Contract Counter-Parties                              David Ortiz                                                                     X
115   Contract Counter-Parties                              David Ortiz Children’s Fund                                                     X
116   Contract Counter-Parties                              Name on File                                                                    X
117   Contract Counter-Parties                              Diego Perez de Ayala                                                            X
118   Contract Counter-Parties                              Digital Assets DA AG                                                            X
119   Contract Counter-Parties                              Digital Finance Group Company                                                   X
120   Contract Counter-Parties                              Dolphin Entertainment, Inc.                                       X
121   Contract Counter-Parties                              Name on File                                                                    X
122   Contract Counter-Parties                              Elvia Delgadillo                                                                X
123   Contract Counter-Parties                              Exodus Movement, Inc.                                                           X
124   Contract Counter-Parties                              Fortune Cookie                                                                  X
125   Contract Counter-Parties                              FOX SPORTS SUN, LLC                                                             X
126   Contract Counter-Parties                              Name on File                                                                    X
127   Contract Counter-Parties                              FTI Consulting, Inc.                                              X
128   Contract Counter-Parties                              Furia ESports LLC                                                               X
129   Contract Counter-Parties                              Galois Capital                                                                  X
130   Contract Counter-Parties                              Gisele Caroline Bündchen                                                        X
131   Contract Counter-Parties                              Golden State Warriors                                                           X
132   Contract Counter-Parties                              Gpay Network Pte. Ltd.                                            X
133   Contract Counter-Parties                              Growflint Technologies Pvt. Ltd.                                  X
134   Contract Counter-Parties                              HashKey Blockchain Investment Fund                                              X
135   Contract Counter-Parties                              HODL Media, Inc.                                                                X
136   Contract Counter-Parties                              ICC Business Corporation FZ LLC                                   X
137   Contract Counter-Parties                              Idealex Services OU                                                             X
138   Contract Counter-Parties                              IEX Group, Inc.                                                   X
139   Contract Counter-Parties                              iVest+                                                                          X
140   Contract Counter-Parties                              Name on File                                                                    X
141   Contract Counter-Parties                              Name on File                                                                    X
142   Contract Counter-Parties                              Jeremy Cranford                                                                 X
143   Contract Counter-Parties                              Name on File                                                                    X
144   Contract Counter-Parties                              Joele Frank                                                                     X
145   Contract Counter-Parties                              Kariya Kayamori                                                                 X
146   Contract Counter-Parties                              Name on File                                                                    X




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No.                              Category                    Entity Name (Full Name as per PIIL)         Connection   No Connection
147   Contract Counter-Parties              Kevin O'Leary                                                                   X
148   Contract Counter-Parties              Name on File                                                                    X
149   Contract Counter-Parties              Larnabell Enterprises Limited                                    X
150   Contract Counter-Parties              Laura Larissa Hanna                                                            X
151   Contract Counter-Parties              Ledger SAS                                                       X
152   Contract Counter-Parties              Lightspeed Management Company, LLC                                             X
153   Contract Counter-Parties              Lincoln Holdings LLC DBA Monumental Sports & Entertainment                     X
154   Contract Counter-Parties              Lorem Ipsum UG                                                                 X
155   Contract Counter-Parties              Name on File                                                                   X
156   Contract Counter-Parties              Name on File                                                                   X
157   Contract Counter-Parties              Major League Baseball Clubs                                      X
158   Contract Counter-Parties              Major League Baseball Properties, Inc                            X
159   Contract Counter-Parties              Mark Khalil                                                                    X
160   Contract Counter-Parties              Medium Rare Live, LLC                                                          X
161   Contract Counter-Parties              Meow Technologies Inc.                                                         X
162   Contract Counter-Parties              Mercedes-Benz Grand Prix Limited                                 X
163   Contract Counter-Parties              Name on File                                                                   X
164   Contract Counter-Parties              MLB Advanced Media, L.P                                                        X
165   Contract Counter-Parties              MMBOC, LLC                                                                     X
166   Contract Counter-Parties              MPG Live Ltd                                                                   X
167   Contract Counter-Parties              Multicoin Capital                                                              X
168   Contract Counter-Parties              Nardello & Co. LLC                                                             X
169   Contract Counter-Parties              Naomi Osaka                                                                    X
170   Contract Counter-Parties              O’Leary Productions Inc.                                                       X
171   Contract Counter-Parties              Office of the Commissioner of Baseball                                         X
172   Contract Counter-Parties              Paradigm                                                                       X
173   Contract Counter-Parties              Patrick Gruhn                                                                  X
174   Contract Counter-Parties              Paul Forest                                                                    X
175   Contract Counter-Parties              Paxos Trust Company, LLC                                         X
176   Contract Counter-Parties              Name on File                                                                   X
177   Contract Counter-Parties              Play Magnus Group                                                              X
178   Contract Counter-Parties              PointUp Inc.                                                                   X
179   Contract Counter-Parties              Proper Trust AG                                                                X
180   Contract Counter-Parties              PT Datindo Infonet Prima                                                       X
181   Contract Counter-Parties              Race Capital                                                                   X
182   Contract Counter-Parties              Radegen Sports Management LLC                                                  X
183   Contract Counter-Parties              Rebecca Lowe                                                                   X
184   Contract Counter-Parties              Reddit, Inc.                                                     X
185   Contract Counter-Parties              Ribbit Capital                                                   X
186   Contract Counter-Parties              Rick Fox                                                                       X
187   Contract Counter-Parties              Riot                                                             X
188   Contract Counter-Parties              Name on File                                                                   X
189   Contract Counter-Parties              SC30 Inc.                                                                      X
190   Contract Counter-Parties              Name on File                                                                   X
191   Contract Counter-Parties              Shohei Ohtani                                                                  X
192   Contract Counter-Parties              Name on File                                                                   X
193   Contract Counter-Parties              Stephen Curry                                                                  X
194   Contract Counter-Parties              StockTwits, Inc.                                                               X
195   Contract Counter-Parties              Swift Media Entertainment, Inc                                                 X
196   Contract Counter-Parties              Sygnia Consulting                                                X
197   Contract Counter-Parties              The MLB Network, LLC                                                           X
198   Contract Counter-Parties              The Sequoia Fund, L.P.                                                         X
199   Contract Counter-Parties              Thoma Bravo                                                      X
200   Contract Counter-Parties              TL INTERNATIONAL BV                                                            X
201   Contract Counter-Parties              TokenBot International Ltd.                                                    X
202   Contract Counter-Parties              Tom Brady                                                                      X
203   Contract Counter-Parties              TradingView Inc                                                                X
204   Contract Counter-Parties              Trevor Lawrence                                                                X
205   Contract Counter-Parties              TrustToken                                                                     X
206   Contract Counter-Parties              Twig USA Inc                                                                   X
207   Contract Counter-Parties              Udonis Haslem                                                                  X
208   Contract Counter-Parties              UJH Enterprises                                                                X
209   Contract Counter-Parties              Veridian Development Group Ltd.                                                X
210   Contract Counter-Parties              Yahoo Inc.                                                       X
211   Contract Counter-Parties              Yuga Labs, Inc.                                                                X
212   Customers                             Name on File                                                                   X
213   Customers                             Name on File                                                                   X
214   Customers                             Name on File                                                                   X
215   Customers                             Name on File                                                     X
216   Customers                             Name on File                                                     X
217   Customers                             Name on File                                                                   X
218   Customers                             Name on File                                                                   X
219   Customers                             Name on File                                                     X




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                                       Results of Connections Check



No.                  Category                        Entity Name (Full Name as per PIIL)          Connection   No Connection
220   Customers                       Name on File                                                                   X
221   Customers                       Name on File                                                                   X
222   Customers                       Name on File                                                                   X
223   Customers                       Name on File                                                    X
224   Customers                       Name on File                                                                  X
225   Customers                       Name on File                                                                  X
226   Customers                       Name on File                                                                  X
227   Customers                       Name on File                                                                  X
228   Customers                       Name on File                                                                  X
229   Customers                       Name on File                                                                  X
230   Customers                       Name on File                                                                  X
231   Customers                       Name on File                                                                  X
232   Customers                       Name on File                                                                  X
233   Customers                       Name on File                                                                  X
234   Customers                       Name on File                                                                  X
235   Customers                       Name on File                                                    X
236   Customers                       Name on File                                                                  X
237   Customers                       Name on File                                                                  X
238   Customers                       Name on File                                                                  X
239   Customers                       Name on File                                                                  X
240   Customers                       Name on File                                                                  X
241   Customers                       Name on File                                                                  X
242   Customers                       Name on File                                                                  X
243   Customers                       Name on File                                                                  X
244   Customers                       Name on File                                                                  X
245   Customers                       Name on File                                                                  X
246   Customers                       Name on File                                                                  X
247   Customers                       Name on File                                                    X
248   Customers                       Name on File                                                                  X
249   Customers                       Name on File                                                                  X
250   Customers                       Name on File                                                                  X
251   Customers                       Name on File                                                                  X
252   Customers                       Name on File                                                    X
253   Customers                       Name on File                                                                  X
254   Customers                       Name on File                                                                  X
255   Customers                       Name on File                                                                  X
256   Customers                       Name on File                                                    X
257   Customers                       Name on File                                                    X
258   Customers                       Name on File                                                                  X
259   Customers                       Name on File                                                                  X
260   Customers                       Name on File                                                                  X
261   Customers                       Name on File                                                                  X
262   Customers                       Name on File                                                    X
263   Customers                       Name on File                                                                  X
264   Customers                       Name on File                                                                  X
265   Customers                       Name on File                                                                  X
266   Customers                       Name on File                                                                  X
267   Customers                       Name on File                                                                  X
268   Customers                       Name on File                                                                  X
269   Customers                       Name on File                                                                  X
270   Customers                       Name on File                                                                  X
271   Customers                       Name on File                                                                  X
272   Customers                       Name on File                                                                  X
273   Customers                       Name on File                                                                  X
274   Customers                       Name on File                                                                  X
275   Customers                       Name on File                                                                  X
276   Customers                       Name on File                                                                  X
277   Customers                       Name on File                                                                  X
278   Customers                       Name on File                                                                  X
279   Customers                       Name on File                                                                  X
280   Customers                       Name on File                                                                  X
281   Customers                       Name on File                                                                  X
282   Customers                       Name on File                                                                  X
283   Customers                       Name on File                                                                  X
284   Customers                       Name on File                                                                  X
285   Customers                       Name on File                                                                  X
286   Customers                       Name on File                                                                  X
287   Customers                       Name on File                                                                  X
288   Customers                       Name on File                                                                  X
289   Customers                       Name on File                                                                  X
290   Customers                       Name on File                                                                  X
291   Customers                       Name on File                                                                  X
292   Customers                       Name on File                                                                  X




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                                       Results of Connections Check



No.                  Category                        Entity Name (Full Name as per PIIL)          Connection   No Connection
293   Customers                       Name on File                                                                   X
294   Customers                       Name on File                                                    X
295   Customers                       Name on File                                                                  X
296   Customers                       Name on File                                                                  X
297   Customers                       Name on File                                                                  X
298   Customers                       Name on File                                                                  X
299   Customers                       Name on File                                                    X
300   Customers                       Name on File                                                                  X
301   Customers                       Name on File                                                                  X
302   Customers                       Name on File                                                                  X
303   Customers                       Name on File                                                                  X
304   Customers                       Name on File                                                                  X
305   Customers                       Name on File                                                                  X
306   Customers                       Name on File                                                                  X
307   Customers                       Name on File                                                    X
308   Customers                       Name on File                                                                  X
309   Customers                       Name on File                                                    X
310   Customers                       Name on File                                                                  X
311   Customers                       Name on File                                                                  X
312   Customers                       Name on File                                                                  X
313   Customers                       Name on File                                                                  X
314   Customers                       Name on File                                                                  X
315   Customers                       Name on File                                                                  X
316   Customers                       Name on File                                                                  X
317   Customers                       Name on File                                                                  X
318   Customers                       Name on File                                                                  X
319   Customers                       Name on File                                                                  X
320   Customers                       Name on File                                                                  X
321   Customers                       Name on File                                                                  X
322   Customers                       Name on File                                                                  X
323   Customers                       Name on File                                                                  X
324   Customers                       Name on File                                                                  X
325   Customers                       Name on File                                                    X
326   Customers                       Name on File                                                                  X
327   Customers                       Name on File                                                                  X
328   Customers                       Name on File                                                                  X
329   Customers                       Name on File                                                                  X
330   Customers                       Name on File                                                                  X
331   Customers                       Name on File                                                                  X
332   Customers                       Name on File                                                                  X
333   Customers                       Name on File                                                                  X
334   Customers                       Name on File                                                                  X
335   Customers                       Name on File                                                                  X
336   Customers                       Name on File                                                                  X
337   Customers                       Name on File                                                                  X
338   Customers                       Name on File                                                                  X
339   Customers                       Name on File                                                                  X
340   Customers                       Name on File                                                                  X
341   Customers                       Name on File                                                                  X
342   Customers                       Name on File                                                                  X
343   Customers                       Name on File                                                    X
344   Customers                       Name on File                                                                  X
345   Customers                       Name on File                                                                  X
346   Customers                       Name on File                                                                  X
347   Customers                       Name on File                                                                  X
348   Customers                       Name on File                                                                  X
349   Customers                       Name on File                                                                  X
350   Customers                       Name on File                                                                  X
351   Customers                       Name on File                                                                  X
352   Customers                       Name on File                                                                  X
353   Customers                       Name on File                                                                  X
354   Customers                       Name on File                                                                  X
355   Customers                       Name on File                                                                  X
356   Customers                       Name on File                                                                  X
357   Customers                       Name on File                                                                  X
358   Customers                       Name on File                                                                  X
359   Customers                       Name on File                                                                  X
360   Customers                       Name on File                                                                  X
361   Customers                       Name on File                                                                  X
362   Customers                       Name on File                                                                  X
363   Customers                       Name on File                                                                  X
364   Customers                       Name on File                                                                  X
365   Customers                       Name on File                                                                  X




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No.                  Category                          Entity Name (Full Name as per PIIL)          Connection   No Connection
366   Customers                       Name on File                                                                     X
367   Customers                       Name on File                                                                     X
368   Customers                       Name on File                                                                     X
369   Customers                       Name on File                                                                     X
370   Customers                       Name on File                                                                     X
371   Customers                       Name on File                                                                     X
372   Customers                       Name on File                                                                     X
373   Customers                       Name on File                                                                     X
374   Customers                       Name on File                                                                     X
375   Customers                       Name on File                                                                     X
376   Customers                       Name on File                                                                     X
377   Customers                       Name on File                                                                     X
378   Customers                       Name on File                                                                     X
379   Customers                       Name on File                                                                     X
380   Customers                       Name on File                                                                     X
381   Customers                       Name on File                                                                     X
382   Customers                       Name on File                                                                     X
383   Customers                       Name on File                                                                     X
384   Customers                       Name on File                                                                     X
385   Customers                       Name on File                                                                     X
386   Customers                       Name on File                                                                     X
387   Customers                       Name on File                                                                     X
388   Customers                       Name on File                                                                     X
389   Customers                       Name on File                                                                     X
390   Debtors                         Alameda Aus Pty Ltd                                               X
391   Debtors                         Alameda Global Services Ltd.                                      X
392   Debtors                         Alameda Research (Bahamas) Ltd                                    X
393   Debtors                         Alameda Research Holdings Inc.                                    X
394   Debtors                         Alameda Research KK                                               X
395   Debtors                         Alameda Research LLC                                              X
396   Debtors                         Alameda Research Ltd                                              X
397   Debtors                         Alameda Research Pte Ltd                                          X
398   Debtors                         Alameda Research Yankari Ltd                                      X
399   Debtors                         Alameda TR Ltd                                                    X
400   Debtors                         Alameda TR Systems S. de R. L.                                    X
401   Debtors                         Allston Way Ltd                                                   X
402   Debtors                         Analisya Pte Ltd                                                  X
403   Debtors                         Atlantis Technology Ltd.                                          X
404   Debtors                         Bancroft Way Ltd                                                  X
405   Debtors                         Blockfolio, Inc.                                                  X
406   Debtors                         Blue Ridge Ltd                                                    X
407   Debtors                         Cardinal Ventures Ltd                                             X
408   Debtors                         Cedar Bay Ltd                                                     X
409   Debtors                         Cedar Grove Technology Services, Ltd                              X
410   Debtors                         Clifton Bay Investments LLC                                       X
411   Debtors                         Clifton Bay Investments Ltd                                       X
412   Debtors                         Cottonwood Grove Ltd                                              X
413   Debtors                         Cottonwood Technologies Ltd.                                      X
414   Debtors                         Crypto Bahamas LLC                                                X
415   Debtors                         DAAG Trading, DMCC                                                X
416   Debtors                         Deck Technologies Holdings LLC                                    X
417   Debtors                         Deck Technologies Inc.                                            X
418   Debtors                         Deep Creek Ltd                                                    X
419   Debtors                         Digital Custody Inc.                                              X
420   Debtors                         Euclid Way Ltd                                                    X
421   Debtors                         FTX (Gibraltar) Ltd                                               X
422   Debtors                         FTX Canada Inc                                                    X
423   Debtors                         FTX Certificates GmbH                                             X
424   Debtors                         FTX Crypto Services Ltd.                                          X
425   Debtors                         FTX Digital Assets LLC                                            X
426   Debtors                         FTX Digital Holdings (Singapore) Pte Ltd                          X
427   Debtors                         FTX EMEA Ltd.                                                     X
428   Debtors                         FTX Equity Record Holdings Ltd                                    X
429   Debtors                         FTX EU Ltd.                                                       X
430   Debtors                         FTX Europe AG                                                     X
431   Debtors                         FTX Exchange FZE                                                  X
432   Debtors                         FTX Hong Kong Ltd                                                 X
433   Debtors                         FTX Japan Holdings K.K.                                           X
434   Debtors                         FTX Japan K.K.                                                    X
435   Debtors                         FTX Japan Services KK                                             X
436   Debtors                         FTX Lend Inc.                                                     X
437   Debtors                         FTX Marketplace, Inc.                                             X
438   Debtors                         FTX Products (Singapore) Pte Ltd                                  X




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No.                         Category                          Entity Name (Full Name as per PIIL)     Connection   No Connection
439   Debtors                                FTX Property Holdings Ltd                                    X
440   Debtors                                FTX Services Solutions Ltd.                                  X
441   Debtors                                FTX Structured Products AG                                   X
442   Debtors                                FTX Switzerland GmbH                                         X
443   Debtors                                FTX Trading GmbH                                             X
444   Debtors                                FTX Trading Ltd                                              X
445   Debtors                                FTX TURKEY TEKNOLOJİ VE TİCARET ANONİM ŞİRKET                X
446   Debtors                                FTX US Services, Inc.                                        X
447   Debtors                                FTX US Trading, Inc                                          X
448   Debtors                                FTX Ventures Ltd                                             X
449   Debtors                                FTX Zuma Ltd                                                 X
450   Debtors                                GG Trading Terminal Ltd                                      X
451   Debtors                                Global Compass Dynamics Ltd.                                 X
452   Debtors                                Good Luck Games, LLC                                         X
453   Debtors                                Goodman Investments Ltd.                                     X
454   Debtors                                Hannam Group Inc                                             X
455   Debtors                                Hawaii Digital Assets Inc.                                   X
456   Debtors                                Hilltop Technology Services LLC                              X
457   Debtors                                Hive Empire Trading Pty Ltd                                  X
458   Debtors                                Innovatia Ltd                                                X
459   Debtors                                Island Bay Ventures Inc                                      X
460   Debtors                                Killarney Lake Investments Ltd                               X
461   Debtors                                Ledger Holdings Inc.                                         X
462   Debtors                                Ledger Prime LLC                                             X
463   Debtors                                LedgerPrime Bitcoin Yield Enhancement Fund, LLC              X
464   Debtors                                LedgerPrime Bitcoin Yield Enhancement Master Fund            X
465   Debtors                                LedgerPrime Digital Asset Opportunities Fund, LLC            X
466   Debtors                                LedgerPrime Digital Asset Opportunities Master Fund LP       X
467   Debtors                                LedgerPrime Ventures, LP                                     X
468   Debtors                                Liquid Financial USA Inc.                                    X
469   Debtors                                Liquid Securities Singapore Pte Ltd.                         X
470   Debtors                                LiquidEX LLC                                                 X
471   Debtors                                LT Baskets Ltd.                                              X
472   Debtors                                Maclaurin Investments Ltd.                                   X
473   Debtors                                Mangrove Cay Ltd                                             X
474   Debtors                                North Dimension Inc                                          X
475   Debtors                                North Dimension Ltd                                          X
476   Debtors                                North Wireless Dimension Inc                                 X
477   Debtors                                Paper Bird Inc                                               X
478   Debtors                                Pioneer Street Inc.                                          X
479   Debtors                                Quoine India Pte Ltd                                         X
480   Debtors                                Quoine Pte Ltd                                               X
481   Debtors                                Quoine Vietnam Co. Ltd                                       X
482   Debtors                                SNG INVESTMENTS YATIRIM VE DANIŞMANLIK ANONİM ŞİRKETİ        X
483   Debtors                                Strategy Ark Collective Ltd.                                 X
484   Debtors                                Technology Services Bahamas Limited                          X
485   Debtors                                Verdant Canyon Capital LLC                                   X
486   Debtors                                West Innovative Barista Ltd.                                 X
487   Debtors                                West Realm Shires Financial Services Inc.                    X
488   Debtors                                West Realm Shires Inc.                                       X
489   Debtors                                West Realm Shires Services Inc.                              X
490   Debtors                                Western Concord Enterprises Ltd.                             X
491   Debtors                                Zubr Exchange Ltd                                            X
492   Director/Officer                       Name on File                                                               X
493   Director/Officer                       Name on File                                                               X
494   Director/Officer                       Andy Fisher                                                                X
495   Director/Officer                       Arthur Thomas                                                              X
496   Director/Officer                       Name on File                                                               X
497   Director/Officer                       Name on File                                                               X
498   Director/Officer                       Can Sun                                                                    X
499   Director/Officer                       Caroline Ellison                                                           X
500   Director/Officer                       Caroline Papadopoulas                                                      X
501   Director/Officer                       Name on File                                                               X
502   Director/Officer                       Name on File                                                               X
503   Director/Officer                       Constance Wang                                                             X
504   Director/Officer                       Corporate & Trust Services Limited                           X
505   Director/Officer                       Dan Friedberg                                                              X
506   Director/Officer                       Name on File                                                               X
507   Director/Officer                       Diana Aidee Munoz Maclao De Camargo                                        X
508   Director/Officer                       Edward Moncada                                                             X
509   Director/Officer                       Gary Wang                                                                  X
510   Director/Officer                       Name on File                                                               X
511   Director/Officer                       Name on File                                                               X




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No.                         Category                         Entity Name (Full Name as per PIIL)           Connection   No Connection
512   Director/Officer                       Name on File                                                                     X
513   Director/Officer                       Jen Chan                                                                         X
514   Director/Officer                       John J. Ray                                                                      X
515   Director/Officer                       John Samuel Trabucco                                                             X
516   Director/Officer                       Jonathan Cheesman                                                                X
517   Director/Officer                       Joseph J. Farnan                                                                 X
518   Director/Officer                       Name on File                                                                     X
519   Director/Officer                       Kariya Kayamori                                                                  X
520   Director/Officer                       Name on File                                                                     X
521   Director/Officer                       Larry Thompson                                                                   X
522   Director/Officer                       Name on File                                                                     X
523   Director/Officer                       Luk Wai Chan                                                                     X
524   Director/Officer                       Name on File                                                                     X
525   Director/Officer                       Name on File                                                                     X
526   Director/Officer                       Mark Wetjen                                                                      X
527   Director/Officer                       Name on File                                                                     X
528   Director/Officer                       Name on File                                                                     X
529   Director/Officer                       Name on File                                                                     X
530   Director/Officer                       Matt Rosenberg                                                                   X
531   Director/Officer                       Matthew Doheny                                                                   X
532   Director/Officer                       Matthew Ness                                                                     X
533   Director/Officer                       Name on File                                                                     X
534   Director/Officer                       Michael McCarty                                                                  X
535   Director/Officer                       Michael Watson                                                                   X
536   Director/Officer                       Mitch Sonkin                                                                     X
537   Director/Officer                       Name on File                                                                     X
538   Director/Officer                       Name on File                                                                     X
539   Director/Officer                       Name on File                                                                     X
540   Director/Officer                       Nishad Singh                                                                     X
541   Director/Officer                       Name on File                                                                     X
542   Director/Officer                       Name on File                                                                     X
543   Director/Officer                       Name on File                                                                     X
544   Director/Officer                       Name on File                                                                     X
545   Director/Officer                       Rishi Jain                                                                       X
546   Director/Officer                       Name on File                                                                     X
547   Director/Officer                       Ryan Salame2                                                      X
548   Director/Officer                       Ryne Miller                                                                     X
549   Director/Officer                       Samuel Bankman-Fried                                                            X
550   Director/Officer                       Name on File                                                                    X
551   Director/Officer                       Serhat Aydin                                                                    X
552   Director/Officer                       Name on File                                                                    X
553   Director/Officer                       Shiliang Tang                                                                   X
554   Director/Officer                       Name on File                                                                    X
555   Director/Officer                       Sina Nader                                                                      X
556   Director/Officer                       Name on File                                                                    X
557   Director/Officer                       Takashi Hidaka                                                                  X
558   Director/Officer                       Terence Choo                                                                    X
559   Director/Officer                       Name on File                                                                    X
560   Director/Officer                       Venu Palaparthi                                                                 X
561   Director/Officer                       Wang Zhe                                                                        X
562   Director/Officer                       Wing Man Charis Law (Charis Law)                                                X
563   Director/Officer                       Wong Jing Yu                                                                    X
564   Director/Officer                       Zach Dexter                                                                     X
565   Director/Officer                       Zhe Wang                                                                        X
566   Donations                              amfAR                                                                           X
567   Donations                              Arbor Day Foundation                                                            X
568   Donations                              Berkley Existential Risk Initiative                                             X
569   Donations                              Care for Special Needs Children Foundation                                      X
570   Donations                              Center for Effective Altruism                                                   X
571   Donations                              Clinton Health Access                                             X
572   Donations                              David Ortiz Children's Fund                                                     X
573   Donations                              Eat.Learn.Play                                                                  X
574   Donations                              Eldera, Inc.                                                                    X
575   Donations                              GWWC                                                                            X
576   Donations                              Honnold Foundation                                                              X
577   Donations                              Hurry Up Slowly                                                                 X
578   Donations                              Laureus Sport for Good                                                          X
579   Donations                              Majority Forward                                                                X
580   Donations                              Managed Funds Association                                                       X
581   Donations                              National Council of Social Service                                X
582   Donations                              New Jersey Scholars                                                             X
583   Donations                              Neworld One Bay Street - Margaritaville Beach Resort Nassau                     X
584   Donations                              RESource D.C                                                      X




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No.                              Category                     Entity Name (Full Name as per PIIL)        Connection   No Connection
585   Donations                             Rethink Priorities                                                              X
586   Donations                             Seattle Approves                                                                X
587   Donations                             Stanford School of Medicine                                                     X
588   Donations                             Stanford University                                                             X
589   Donations                             Stanford University Development                                                 X
590   Donations                             The Center for Election                                                         X
591   Donations                             Name on File                                                                    X
592   Donations                             UC Berkeley Foundation                                                          X
593   Donations                             UDONIS HASLEM CHILDRENS FOUNDATION                                              X
594   Insurance                             Ascot Insurance Company                                                         X
595   Insurance                             Continental Casualty Company                                     X
596   Insurance                             Endurance Worldwide Insurance Ltd., Zurich Insurance Plc,                      X
597   Insurance                             HDI Global Specialty SE                                                        X
598   Insurance                             Lloyd’s America, Inc.                                                          X
599   Insurance                             Massachusetts Bay Insurance Company                                            X
600   Insurance                             Paragon International Insurance Brokers Limited                  X
601   Insurance                             QBE Insurance Corporation                                        X
602   Insurance                             Relm Insurance Ltd.                                                            X
603   Insurance                             StarStone National Insurance Company                                           X
604   Insurance                             The Hanover Insurance Group                                      X
605   Insurance                             The Travelers Insurance Company                                  X
606   Insurance                             Travelers Property Caualty Company of America                                  X
607   Insurance                             United Fire Group                                                X
608   Insurance                             USI Insurance Services, LLC-CL                                                 X
609   Investments/Acquisitions              1Inch                                                                          X
610   Investments/Acquisitions              3Commas Technologies                                                           X
611   Investments/Acquisitions              5D                                                               X
612   Investments/Acquisitions              6529 NFT Fund                                                                  X
613   Investments/Acquisitions              6th Man Ventures Fund                                                          X
614   Investments/Acquisitions              80 Acres                                                                       X
615   Investments/Acquisitions              Acala                                                                          X
616   Investments/Acquisitions              AFK Ventures LLC                                                               X
617   Investments/Acquisitions              Name on File                                                                   X
618   Investments/Acquisitions              Alder Labs                                                                     X
619   Investments/Acquisitions              Alethea                                                                        X
620   Investments/Acquisitions              Aligned AI                                                                     X
621   Investments/Acquisitions              Altimeter Growth Partners Fund VI, L.P.                                        X
622   Investments/Acquisitions              Alvea, LLC                                                       X
623   Investments/Acquisitions              Anchorage                                                        X
624   Investments/Acquisitions              Ancient8                                                                       X
625   Investments/Acquisitions              AngelList                                                                      X
626   Investments/Acquisitions              Anthropic                                                                      X
627   Investments/Acquisitions              Anysphere Inc                                                                  X
628   Investments/Acquisitions              Aptos                                                            X
629   Investments/Acquisitions              Arcana                                                                         X
630   Investments/Acquisitions              Archax                                                                         X
631   Investments/Acquisitions              Arnac                                                                          X
632   Investments/Acquisitions              Arrow                                                            X
633   Investments/Acquisitions              Artemis                                                          X
634   Investments/Acquisitions              Asymmetric Technologies LP                                                     X
635   Investments/Acquisitions              ATMTA, Inc. / Star Atlas                                                       X
636   Investments/Acquisitions              Atomic Vaults                                                                  X
637   Investments/Acquisitions              ATTN (EVOSverse)                                                               X
638   Investments/Acquisitions              Auradine, Inc.                                                                 X
639   Investments/Acquisitions              Aurigami / Vaus Limited                                                        X
640   Investments/Acquisitions              Aurory                                                                         X
641   Investments/Acquisitions              Autograph                                                                      X
642   Investments/Acquisitions              Automata                                                                       X
643   Investments/Acquisitions              Avara Labs / LENS                                                              X
644   Investments/Acquisitions              AVECRIS Research Corporation Pte. Ltd. (Project Door)                          X
645   Investments/Acquisitions              Aver Protocol                                                                  X
646   Investments/Acquisitions              Axelar Network                                                                 X
647   Investments/Acquisitions              Bastion / Bengine, Inc.                                                        X
648   Investments/Acquisitions              BetDEX                                                                         X
649   Investments/Acquisitions              BiLira (Series A - Class E)                                                    X
650   Investments/Acquisitions              Bitmain Fund L.P.                                                              X
651   Investments/Acquisitions              Bitnob Technologies                                                            X
652   Investments/Acquisitions              Bitnomial                                                                      X
653   Investments/Acquisitions              BitOasis                                                                       X
654   Investments/Acquisitions              Bitocto (exchange Indo) / PT Triniti                                           X
655   Investments/Acquisitions              Blockbeats News                                                                X
656   Investments/Acquisitions              Blockchain Space / Solutions Lab Consultancy Pte Ltd                           X
657   Investments/Acquisitions              Blocto                                                                         X




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No.                              Category                     Entity Name (Full Name as per PIIL)           Connection   No Connection
658   Investments/Acquisitions              Bluebook Cities                                                                    X
659   Investments/Acquisitions              Bond Fund III                                                                      X
660   Investments/Acquisitions              Bonzai Finance                                                                     X
661   Investments/Acquisitions              Bridge Technologies (BRG Token)                                                    X
662   Investments/Acquisitions              Brinc Drones                                                                       X
663   Investments/Acquisitions              Browder Capital                                                                    X
664   Investments/Acquisitions              BTC Africa, S.A., (dba AZA Finance)                                                X
665   Investments/Acquisitions              Burnt                                                                              X
666   Investments/Acquisitions              Canonical Crypto Fund                                                              X
667   Investments/Acquisitions              Cardinal (Nexus Pro)                                                               X
668   Investments/Acquisitions              Causal Inc                                                                         X
669   Investments/Acquisitions              CCAI / Aldin                                                                       X
670   Investments/Acquisitions              Cega Pte Ltd                                                                       X
671   Investments/Acquisitions              Celesita Network                                                                   X
672   Investments/Acquisitions              Ceres Protocol Inc / Mythos tokens                                                 X
673   Investments/Acquisitions              Change Up                                                           X
674   Investments/Acquisitions              chillchat                                                                         X
675   Investments/Acquisitions              China V Investors L.P.                                                            X
676   Investments/Acquisitions              China Venture Capital Fund                                          X
677   Investments/Acquisitions              Chingari                                                                          X
678   Investments/Acquisitions              Chipper Cash / Critical Ideas Inc                                                 X
679   Investments/Acquisitions              Circle Internet Financial, Inc.                                     X
680   Investments/Acquisitions              Clover                                                              X
681   Investments/Acquisitions              Coderrect Inc.                                                                    X
682   Investments/Acquisitions              Cogni                                                                             X
683   Investments/Acquisitions              Coin98                                                                            X
684   Investments/Acquisitions              Coinfeeds / Docsi18n                                                              X
685   Investments/Acquisitions              CoinMARA                                                                          X
686   Investments/Acquisitions              Collide Capital Fund I                                                            X
687   Investments/Acquisitions              Com2Us                                                              X
688   Investments/Acquisitions              Composable                                                                        X
689   Investments/Acquisitions              Compound Financial                                                                X
690   Investments/Acquisitions              Confirm Solutions Inc                                                             X
691   Investments/Acquisitions              Conjecture                                                                        X
692   Investments/Acquisitions              Connect3 / Lab3 Technology Limited                                                X
693   Investments/Acquisitions              Consensys                                                           X
694   Investments/Acquisitions              Critical Ideas, Inc.                                                X
695   Investments/Acquisitions              Cryowar                                                                           X
696   Investments/Acquisitions              Curated                                                                           X
697   Investments/Acquisitions              DaoSqaure                                                                         X
698   Investments/Acquisitions              Darkfi                                                                            X
699   Investments/Acquisitions              Dave Inc                                                                          X
700   Investments/Acquisitions              decimated                                                                         X
701   Investments/Acquisitions              Defi                                                                X
702   Investments/Acquisitions              Defi Alliance                                                                     X
703   Investments/Acquisitions              Delphia Holdings Corp                                               X
704   Investments/Acquisitions              Delta One                                                                         X
705   Investments/Acquisitions              Delysium / KUROSEMI INC.                                                          X
706   Investments/Acquisitions              Digital Assets DA AG                                                              X
707   Investments/Acquisitions              Distributed Ledger Technology                                                     X
708   Investments/Acquisitions              DLT Climate Tech                                                                  X
709   Investments/Acquisitions              DoDo                                                                X
710   Investments/Acquisitions              DoinGud                                                                           X
711   Investments/Acquisitions              DoNotPay                                                                          X
712   Investments/Acquisitions              Doodles                                                                           X
713   Investments/Acquisitions              Doppel Inc                                                                        X
714   Investments/Acquisitions              Dorahack                                                                          X
715   Investments/Acquisitions              Drift                                                               X
716   Investments/Acquisitions              DriveWealth                                                                       X
717   Investments/Acquisitions              Dropp                                                                             X
718   Investments/Acquisitions              Dtrade                                                                            X
719   Investments/Acquisitions              Dune Analytics                                                                    X
720   Investments/Acquisitions              Dust Labs, Inc                                                                    X
721   Investments/Acquisitions              edenbrawl / Worldspark Studios, Inc                                               X
722   Investments/Acquisitions              EFAS / Kepler Space Industries                                                    X
723   Investments/Acquisitions              Efficient Frontier / Odyssey Technologies Limited                                 X
724   Investments/Acquisitions              Eizper Chain                                                                      X
725   Investments/Acquisitions              Elementus                                                                         X
726   Investments/Acquisitions              Elumia                                                                            X
727   Investments/Acquisitions              Equator Therapeutics                                                              X
728   Investments/Acquisitions              EquiLibre Tecnologies Inc.                                                        X
729   Investments/Acquisitions              Ethereal Ventures Fund I LP                                                       X
730   Investments/Acquisitions              Euclid Labs / Magic Eden Secondary Shares                                         X




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No.                              Category                    Entity Name (Full Name as per PIIL)           Connection   No Connection
731   Investments/Acquisitions              Euler                                                              X
732   Investments/Acquisitions              Evme Inc                                                                         X
733   Investments/Acquisitions              Exodus                                                                           X
734   Investments/Acquisitions              exotic / Pier3 Ventures Limited                                                  X
735   Investments/Acquisitions              Exponent Founders Capital I, LP                                    X
736   Investments/Acquisitions              Exponential DeFi Inc                                                             X
737   Investments/Acquisitions              FairSide                                                                         X
738   Investments/Acquisitions              Fanatics                                                           X
739   Investments/Acquisitions              Faraway                                                                          X
740   Investments/Acquisitions              Fern Labs Inc                                                                    X
741   Investments/Acquisitions              Few and Far                                                                      X
742   Investments/Acquisitions              Figma Inc                                                          X
743   Investments/Acquisitions              Float Capital / Rubin Global Ltd                                                 X
744   Investments/Acquisitions              Flourishing Humanity Corporation Ltd                                             X
745   Investments/Acquisitions              Fluence Labs                                                                     X
746   Investments/Acquisitions              Friktion                                                                         X
747   Investments/Acquisitions              Frosted Inc                                                                      X
748   Investments/Acquisitions              Fuel / Layer-2 Development Corp.                                                 X
749   Investments/Acquisitions              FYI.FYI, Inc                                                                     X
750   Investments/Acquisitions              Galaxy Protocol (Galxe)                                                          X
751   Investments/Acquisitions              GamerGains                                                                       X
752   Investments/Acquisitions              GamesPad                                                                         X
753   Investments/Acquisitions              GENESIS DIGITAL ASSETS LIMITED                                                   X
754   Investments/Acquisitions              Geniome (FBH Corporation)                                                        X
755   Investments/Acquisitions              Genopet / WITTY ELITE LIMITED                                                    X
756   Investments/Acquisitions              GetMati                                                                          X
757   Investments/Acquisitions              GetPIP Web3.0 / Prime Round Ltd                                                  X
758   Investments/Acquisitions              GGX Protocol Limited / GGX Token                                                 X
759   Investments/Acquisitions              Global Illumination                                                              X
760   Investments/Acquisitions              GOG (Guild of Guardians)                                                         X
761   Investments/Acquisitions              GuildFi / CRYPTOMIND LAB PTE. LTD                                                X
762   Investments/Acquisitions              Harbor Systems Inc                                                               X
763   Investments/Acquisitions              Hashflow / Qflow                                                                 X
764   Investments/Acquisitions              Hawku                                                                            X
765   Investments/Acquisitions              HedgeHog                                                           X
766   Investments/Acquisitions              Helix Nanotechnologies                                                           X
767   Investments/Acquisitions              Hidden Road Inc                                                                  X
768   Investments/Acquisitions              HODL                                                                             X
769   Investments/Acquisitions              HOLE Tokens                                                                      X
770   Investments/Acquisitions              http://Contxts.io / NFT Bank                                                     X
771   Investments/Acquisitions              http://Solsniper.xyz (Sniper Labs)                                               X
772   Investments/Acquisitions              http://tsm.gg/ (Swift Media Entertainment Inc)                                   X
773   Investments/Acquisitions              http://wum.bo/                                                                   X
774   Investments/Acquisitions              https://syndica.io/                                                              X
775   Investments/Acquisitions              HyperNative Inc                                                                  X
776   Investments/Acquisitions              IEX                                                                X
777   Investments/Acquisitions              ImmutableX Token Prorata                                                         X
778   Investments/Acquisitions              Impossible Finance                                                               X
779   Investments/Acquisitions              Innovatia Ltd                                                      X
780   Investments/Acquisitions              IO Finnet                                                                        X
781   Investments/Acquisitions              IOSG Fund II LP                                                                  X
782   Investments/Acquisitions              IP3 Cripco (Line Friends)                                                        X
783   Investments/Acquisitions              Ivy Natal                                                                        X
784   Investments/Acquisitions              Jafco SV4 Investment Limited                                       X
785   Investments/Acquisitions              Jambo / Project Chill Limited                                                    X
786   Investments/Acquisitions              Jet Protocol                                                                     X
787   Investments/Acquisitions              Jet Tech                                                                         X
788   Investments/Acquisitions              Jito Labs Inc                                                                    X
789   Investments/Acquisitions              Juiced / Basis Yield Corp                                                        X
790   Investments/Acquisitions              JUMBO.EXCHANGE                                                                   X
791   Investments/Acquisitions              Juppiomenz                                                                       X
792   Investments/Acquisitions              JustWontDie Ltd                                                                  X
793   Investments/Acquisitions              K5 Global                                                                        X
794   Investments/Acquisitions              Kariya Kayamori                                                                  X
795   Investments/Acquisitions              Katana Labs / Blade Labs Inc                                                     X
796   Investments/Acquisitions              Keygen Labs, Inc                                                                 X
797   Investments/Acquisitions              Kollider                                                                         X
798   Investments/Acquisitions              Kos Therapeutics Inc                                                             X
799   Investments/Acquisitions              Kraken Ventures Fund I LP                                                        X
800   Investments/Acquisitions              Kresus                                                                           X
801   Investments/Acquisitions              KTR Group Corporation                                                            X
802   Investments/Acquisitions              Kwil Inc                                                                         X
803   Investments/Acquisitions              Lake Nona Fund / LN Sports & Health Tech Fund I, LP                              X




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804   Investments/Acquisitions              LayerZero                                                                     X
805   Investments/Acquisitions              LayerZero Labs Ltd                                                            X
806   Investments/Acquisitions              Lemon Cash                                                                    X
807   Investments/Acquisitions              Lexidus                                                                       X
808   Investments/Acquisitions              Lido                                                           X
809   Investments/Acquisitions              Lifelike Capital                                                             X
810   Investments/Acquisitions              Lightspeed Faction                                                           X
811   Investments/Acquisitions              Limit Break                                                                  X
812   Investments/Acquisitions              Liquality                                                                    X
813   Investments/Acquisitions              Liquid 2 Venture Fund III L.P.                                               X
814   Investments/Acquisitions              Liquid Group Inc                                               X
815   Investments/Acquisitions              Liquid Value Fund I LP                                                       X
816   Investments/Acquisitions              Liquity                                                                      X
817   Investments/Acquisitions              LiveArtX                                                                     X
818   Investments/Acquisitions              Loan Transactions and Technology LLC / Edge Tradeworks                       X
819   Investments/Acquisitions              Lonely Road                                                                  X
820   Investments/Acquisitions              Luxon / LXN                                                                  X
821   Investments/Acquisitions              Magic Eden                                                                   X
822   Investments/Acquisitions              Name on File                                                                 X
823   Investments/Acquisitions              Manifold Markets                                                             X
824   Investments/Acquisitions              Manta                                                                        X
825   Investments/Acquisitions              Mask Network / MASKBOOK                                                      X
826   Investments/Acquisitions              Matonee Inc                                                                  X
827   Investments/Acquisitions              Mavia                                                                        X
828   Investments/Acquisitions              MCDEX                                                                        X
829   Investments/Acquisitions              MEOW                                                                         X
830   Investments/Acquisitions              Mercurial                                                                    X
831   Investments/Acquisitions              Merge                                                                        X
832   Investments/Acquisitions              Messari                                                        X
833   Investments/Acquisitions              MetaLink                                                                     X
834   Investments/Acquisitions              Metaplex                                                                     X
835   Investments/Acquisitions              MetaTheory                                                                   X
836   Investments/Acquisitions              Metaversus / Combat Lab, Inc                                                 X
837   Investments/Acquisitions              Mina                                                                         X
838   Investments/Acquisitions              Mirror World                                                                 X
839   Investments/Acquisitions              MobileCoin                                                                   X
840   Investments/Acquisitions              Modulo Capital Inc                                             X
841   Investments/Acquisitions              Mojo                                                                         X
842   Investments/Acquisitions              Momentum Safe Inc                                                            X
843   Investments/Acquisitions              MONACO / BetDEX / STRAMASH PROTOCOL LTD.                                     X
844   Investments/Acquisitions              Monkey Kingdom / Kingdom Metaverse Limited                     X
845   Investments/Acquisitions              MonkeyBall                                                                   X
846   Investments/Acquisitions              Mount Olympus Capital LP                                                     X
847   Investments/Acquisitions              Move Labs                                                                    X
848   Investments/Acquisitions              MPL                                                            X
849   Investments/Acquisitions              Multicoin Venture Fund II                                                    X
850   Investments/Acquisitions              Multicoin Venture Fund III                                                   X
851   Investments/Acquisitions              MultiSafe/ Coinshift                                                         X
852   Investments/Acquisitions              Mysten Labs                                                                  X
853   Investments/Acquisitions              Mythical Games                                                               X
854   Investments/Acquisitions              Nas Education Pte Ltd                                          X
855   Investments/Acquisitions              NEAR                                                                         X
856   Investments/Acquisitions              Nestcoin                                                                     X
857   Investments/Acquisitions              New Gen Minting LLC                                                          X
858   Investments/Acquisitions              Nifty Island                                                                 X
859   Investments/Acquisitions              Nod Labs, Inc.                                                               X
860   Investments/Acquisitions              NodeGuardians                                                                X
861   Investments/Acquisitions              Nural Capital                                                                X
862   Investments/Acquisitions              O'daily News                                                                 X
863   Investments/Acquisitions              Offchain Labs                                                                X
864   Investments/Acquisitions              Only1                                                                        X
865   Investments/Acquisitions              Open Loot Ecosystem Fund I Ltd.                                              X
866   Investments/Acquisitions              Optim                                                                        X
867   Investments/Acquisitions              Orderly                                                                      X
868   Investments/Acquisitions              OTC Service Ltd / OTC Service AG                                             X
869   Investments/Acquisitions              OTOY International                                                           X
870   Investments/Acquisitions              OVEX                                                                         X
871   Investments/Acquisitions              Owner.com                                                                    X
872   Investments/Acquisitions              Pacer                                                                        X
873   Investments/Acquisitions              Pangea Cayman Fund I Ltd                                                     X
874   Investments/Acquisitions              Paradigm One (Cayman) Feeder LP                                X
875   Investments/Acquisitions              Parallel Finance                                                             X
876   Investments/Acquisitions              Parastate                                                                    X




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877   Investments/Acquisitions              Paraswap                                                                           X
878   Investments/Acquisitions              Paxos                                                               X
879   Investments/Acquisitions              Pembrock                                                                          X
880   Investments/Acquisitions              Perion / BUZZ DEVELOPMENT INC                                                     X
881   Investments/Acquisitions              Phastasia                                                                         X
882   Investments/Acquisitions              PINE                                                                              X
883   Investments/Acquisitions              Pionic (Toss)                                                                     X
884   Investments/Acquisitions              Pixelynx                                                                          X
885   Investments/Acquisitions              PlanetQuest                                                                       X
886   Investments/Acquisitions              Platform Lifesciences Inc                                                         X
887   Investments/Acquisitions              Play Up                                                                           X
888   Investments/Acquisitions              Point                                                               X
889   Investments/Acquisitions              Point Up                                                            X
890   Investments/Acquisitions              Polygon Network                                                                   X
891   Investments/Acquisitions              Pontem Network                                                                    X
892   Investments/Acquisitions              Pontis - ZK Oracle (42 Labs INc)                                                  X
893   Investments/Acquisitions              Port Finance / Contrarian Defi LLC                                                X
894   Investments/Acquisitions              Pragma                                                                            X
895   Investments/Acquisitions              Protego                                                             X
896   Investments/Acquisitions              Pstake                                                                            X
897   Investments/Acquisitions              Psyoption                                                                         X
898   Investments/Acquisitions              QP-Fund I, a series of Generalist Capital, LP                                     X
899   Investments/Acquisitions              Questbook / CreatorOS                                                             X
900   Investments/Acquisitions              Race Capital II                                                                   X
901   Investments/Acquisitions              Rainmaker                                                                         X
902   Investments/Acquisitions              Ratio Finance                                                                     X
903   Investments/Acquisitions              Rebittance (SCI)                                                                  X
904   Investments/Acquisitions              Receipts Depositary Corporation                                                   X
905   Investments/Acquisitions              Red Sea Research                                                                  X
906   Investments/Acquisitions              REF                                                                 X
907   Investments/Acquisitions              Rejuveron                                                                         X
908   Investments/Acquisitions              Resonant Health Inc                                                               X
909   Investments/Acquisitions              Revault                                                                           X
910   Investments/Acquisitions              Rockbird LLC                                                                      X
911   Investments/Acquisitions              Rocket                                                                            X
912   Investments/Acquisitions              Roco Finance                                                                      X
913   Investments/Acquisitions              Rok Capital Offshore Fund Ltd                                                     X
914   Investments/Acquisitions              ROUTER PROTOCOL / Kailaasa Infotech Pte Ltd                                       X
915   Investments/Acquisitions              Saddle Finance / Incite Technologies Inc                                          X
916   Investments/Acquisitions              SahiCoin                                                                          X
917   Investments/Acquisitions              Salad Ventures Ltd                                                                X
918   Investments/Acquisitions              Samudai                                                                           X
919   Investments/Acquisitions              Samuel Bankman-Fried                                                              X
920   Investments/Acquisitions              Satori Research                                                                   X
921   Investments/Acquisitions              Scopely                                                             X
922   Investments/Acquisitions              SEBA Bank                                                                         X
923   Investments/Acquisitions              SECRET Network / Enigma MPC, Inc.                                                 X
924   Investments/Acquisitions              SecureSave                                                                        X
925   Investments/Acquisitions              Senate                                                              X
926   Investments/Acquisitions              Sequoia Capital Fund, L.P.                                                        X
927   Investments/Acquisitions              SH Fund, LP                                                         X
928   Investments/Acquisitions              Sherlock Bioscience                                                               X
929   Investments/Acquisitions              Sidus                                                                             X
930   Investments/Acquisitions              SifChain                                                                          X
931   Investments/Acquisitions              Sintra                                                                            X
932   Investments/Acquisitions              Sipher                                                                            X
933   Investments/Acquisitions              Size                                                                              X
934   Investments/Acquisitions              Sky Mavis (Axie Infinity)                                           X
935   Investments/Acquisitions              Skybridge                                                           X
936   Investments/Acquisitions              Slope                                                                             X
937   Investments/Acquisitions              Snickerdoodle Labs                                                                X
938   Investments/Acquisitions              Soba Studios / Good Game Inc                                                      X
939   Investments/Acquisitions              SOJ Trading Ltd (JoePEGS NFT Project)                                             X
940   Investments/Acquisitions              Solana Restricted Token Purchase                                                  X
941   Investments/Acquisitions              SolCial / Social Research                                                         X
942   Investments/Acquisitions              Solend / Concurrent C Inc                                                         X
943   Investments/Acquisitions              SolFarm                                                                           X
944   Investments/Acquisitions              Solice                                                                            X
945   Investments/Acquisitions              Solidus                                                             X
946   Investments/Acquisitions              Solrise                                                                           X
947   Investments/Acquisitions              Solscan                                                                           X
948   Investments/Acquisitions              SolStarter                                                                        X
949   Investments/Acquisitions              Sommelier                                                                         X




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 950   Investments/Acquisitions              SperaX                                                                            X
 951   Investments/Acquisitions              Spruce Systems Inc                                                                X
 952   Investments/Acquisitions              Stacked                                                                           X
 953   Investments/Acquisitions              Star Atlas                                                                        X
 954   Investments/Acquisitions              Stargate (LayerZero)                                                              X
 955   Investments/Acquisitions              Starkware                                                          X
 956   Investments/Acquisitions              Step Finance                                                                     X
 957   Investments/Acquisitions              StepN (Find Satoshi Lab)                                                         X
 958   Investments/Acquisitions              Stocktwits                                                                       X
 959   Investments/Acquisitions              Stoke Space                                                                      X
 960   Investments/Acquisitions              Storybook                                                                        X
 961   Investments/Acquisitions              SubSocial                                                                        X
 962   Investments/Acquisitions              Subspace Network                                                                 X
 963   Investments/Acquisitions              Sugarwork                                                                        X
 964   Investments/Acquisitions              Sui Token Warrant (FTX Ventures)                                                 X
 965   Investments/Acquisitions              Sundaeswap                                                                       X
 966   Investments/Acquisitions              SupraOracle / ENTROPY PROTOCOL LTD.                                              X
 967   Investments/Acquisitions              Swim                                                                             X
 968   Investments/Acquisitions              SwitchBoard                                                                      X
 969   Investments/Acquisitions              Swoop                                                                            X
 970   Investments/Acquisitions              Symmetry                                                           X
 971   Investments/Acquisitions              Synthetify                                                                       X
 972   Investments/Acquisitions              T Tauri Ltd - Token Purchase Agreement                                           X
 973   Investments/Acquisitions              Tactic / Spoak Inc                                                               X
 974   Investments/Acquisitions              Taki Network Pte Ltd                                                             X
 975   Investments/Acquisitions              Taleverse                                                                        X
 976   Investments/Acquisitions              TaxBit                                                             X
 977   Investments/Acquisitions              Telis Bioscience                                                                 X
 978   Investments/Acquisitions              The Giving Block                                                                 X
 979   Investments/Acquisitions              Thirdverse                                                                       X
 980   Investments/Acquisitions              TipLink                                                                          X
 981   Investments/Acquisitions              Tools For Humanity                                                               X
 982   Investments/Acquisitions              Tortuga                                                                          X
 983   Investments/Acquisitions              Torus                                                                            X
 984   Investments/Acquisitions              Toy Ventures                                                                     X
 985   Investments/Acquisitions              TradeWind                                                          X
 986   Investments/Acquisitions              TripleDot                                                                        X
 987   Investments/Acquisitions              TrueFi                                                                           X
 988   Investments/Acquisitions              Trustless Media                                                                  X
 989   Investments/Acquisitions              TrySpace / SPACE Metaverse AG                                                    X
 990   Investments/Acquisitions              TTAC                                                                             X
 991   Investments/Acquisitions              Twilight / Cyberprep Corp                                                        X
 992   Investments/Acquisitions              Umee                                                                             X
 993   Investments/Acquisitions              UVM Signum Blockchain Fund VCC                                                   X
 994   Investments/Acquisitions              UXD                                                                              X
 995   Investments/Acquisitions              VALR Proprietary Limited                                                         X
 996   Investments/Acquisitions              VerifyVASP Pte. Ltd.                                               X
 997   Investments/Acquisitions              Vibe Labs Inc.                                                                   X
 998   Investments/Acquisitions              Virtualness Inc                                                                  X
 999   Investments/Acquisitions              VolMex                                                                           X
1000   Investments/Acquisitions              VolumeFi Software, Inc.                                                          X
1001   Investments/Acquisitions              Vosbor                                                                           X
1002   Investments/Acquisitions              VOYAGER DIGITAL LTD.                                                             X
1003   Investments/Acquisitions              VY DHARANA EM TECHNOLOGY FUND, L.P.                                              X
1004   Investments/Acquisitions              VY SPACE                                                                         X
1005   Investments/Acquisitions              VY Space II LP                                                                   X
1006   Investments/Acquisitions              Vybe                                                                             X
1007   Investments/Acquisitions              WAEV                                                                             X
1008   Investments/Acquisitions              Wave Mobile Money Holdings                                                       X
1009   Investments/Acquisitions              Wordcel                                                                          X
1010   Investments/Acquisitions              Xdefi                                                                            X
1011   Investments/Acquisitions              X-Margin                                                                         X
1012   Investments/Acquisitions              Xterio                                                                           X
1013   Investments/Acquisitions              Yuga Labs (BAYC)                                                                 X
1014   Investments/Acquisitions              Zebec                                                                            X
1015   Investments/Acquisitions              Zenlink                                                                          X
1016   Investments/Acquisitions              zero one                                                                         X
1017   Investments/Acquisitions              Zeta                                                                             X
1018   Investments/Acquisitions              ZKlend / BLUE HORIZON GLOBAL CORP                                                X
1019   Investments/Acquisitions              ZKX / LTIC, Inc.                                                                 X
1020   Investments/Acquisitions              ZRO (LayerZero)                                                                  X
1021   Investments/Acquisitions              Zubr Exchange Ltd                                                  X
1022   Joint Provisional Liquidators         Brian C. Simms                                                                   X




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1023   Joint Provisional Liquidators         Holland & Knight LLP                                               X
1024   Joint Provisional Liquidators         Kevin G. Cambridge                                                               X
1025   Joint Provisional Liquidators         Peter Greaves                                                                    X
1026   Joint Provisional Liquidators         Richards, Layton & Finger, P.A.                                                  X
1027   Joint Provisional Liquidators         White & Case                                                       X
1028   Known Affiliates - JV                 Alameda Systems Inc.                                                             X
1029   Known Affiliates - JV                 Blockfolio Holdings, Inc.                                                        X
1030   Known Affiliates - JV                 CM-Equity AG                                                                     X
1031   Known Affiliates - JV                 Concedus Digital Assets                                                          X
1032   Known Affiliates - JV                 Embed Clearing LLC.                                                              X
1033   Known Affiliates - JV                 Embed Financial Technologies Inc                                                 X
1034   Known Affiliates - JV                 FTX Australia Pty Ltd                                                            X
1035   Known Affiliates - JV                 FTX Bahamas Ventures Ltd                                                         X
1036   Known Affiliates - JV                 FTX Capital Markets LLC                                                          X
1037   Known Affiliates - JV                 FTX Derivatives Gmbh                                                             X
1038   Known Affiliates - JV                 FTX Digital Markets Ltd                                                          X
1039   Known Affiliates - JV                 FTX Express Pty Ltd                                                              X
1040   Known Affiliates - JV                 FTX Foundation, Inc.                                                             X
1041   Known Affiliates - JV                 FTX Malta Gaming Services Limited                                                X
1042   Known Affiliates - JV                 FTX Malta Holdings Ltd.                                                          X
1043   Known Affiliates - JV                 FTX Vault Trust Company                                                          X
1044   Known Affiliates - JV                 LedgerX LLC                                                                      X
1045   Known Affiliates - JV                 Salameda Ltd                                                                     X
1046   Landlords                             101 Second Street, Inc.                                                          X
1047   Landlords                             1450 Brickell, LLC                                                               X
1048   Landlords                             Albany Resort Operator Ltd.                                                      X
1049   Landlords                             Blue Hole Real Estate Holdings Ltd.                                              X
1050   Landlords                             Boca Pay                                                                         X
1051   Landlords                             Bond Collective                                                                  X
1052   Landlords                             Brickwell Owner LLC                                                              X
1053   Landlords                             Heckler Investments (Bahamas) Ltd.                                               X
1054   Landlords                             Javari Ltd.                                                                      X
1055   Landlords                             Madison Real Estate Ltd.                                           X
1056   Landlords                             Newwave Bahamas Inc.                                                             X
1057   Landlords                             S3 Ocean View Limited                                                            X
1058   Landlords                             The Executive Center                                                             X
1059   Landlords                             The Metropolitan Square Associates LLC                                           X
1060   Landlords                             WeWork Companies LLC                                               X
1061   Landlords                             W-SF Goldfinger Owner VIII, L.L.C.                                               X
1062   Litigation                            Name on File                                                                     X
1063   Litigation                            Different Rules, LLC                                                             X
1064   Litigation                            Name on File                                                                     X
1065   Litigation                            Group One Holdings Pte Ltd                                         X
1066   Litigation                            Name on File                                                                     X
1067   Litigation                            Marisa Mcknight                                                                  X
1068   Litigation                            ONE Studios Pte Ltd                                                X
1069   Ordinary Course Professionals         ABNR                                                               X
1070   Ordinary Course Professionals         Anderson Mori & Tomotsune                                          X
1071   Ordinary Course Professionals         Anthony Astaphan                                                                 X
1072   Ordinary Course Professionals         Antis Triantafyllides                                              X
1073   Ordinary Course Professionals         Appleby                                                            X
1074   Ordinary Course Professionals         ARIFA                                                              X
1075   Ordinary Course Professionals         Armanino LLP                                                                     X
1076   Ordinary Course Professionals         Arthur Cox                                                         X
1077   Ordinary Course Professionals         Baker McKenzie                                                     X
1078   Ordinary Course Professionals         Baptista Luz                                                                     X
1079   Ordinary Course Professionals         Bär & Karrer                                                                     X
1080   Ordinary Course Professionals         Binder Grösswang                                                                 X
1081   Ordinary Course Professionals         BlackOak                                                                         X
1082   Ordinary Course Professionals         Clayton Utz                                                        X
1083   Ordinary Course Professionals         Clement Maynard & Co                                                             X
1084   Ordinary Course Professionals         CMS Legal - Italy                                                                X
1085   Ordinary Course Professionals         Covington & Burling LLP                                            X
1086   Ordinary Course Professionals         Durukan Partners                                                                 X
1087   Ordinary Course Professionals         Fenwick & West                                                     X
1088   Ordinary Course Professionals         Gibson Dunn                                                        X
1089   Ordinary Course Professionals         Gorriceta Africa Cauton & Saavedra                                               X
1090   Ordinary Course Professionals         Hadef & Partners                                                                 X
1091   Ordinary Course Professionals         Hogan Lovells                                                      X
1092   Ordinary Course Professionals         Kim & Chang                                                        X
1093   Ordinary Course Professionals         King & Spalding LLP                                                X
1094   Ordinary Course Professionals         King Wood Mallesons                                                X
1095   Ordinary Course Professionals         Kramer Levin                                                                     X




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1096   Ordinary Course Professionals                       Latham & Watkins                                                   X
1097   Ordinary Course Professionals                       Lenz & Staehelin                                                   X
1098   Ordinary Course Professionals                       Lexcomm Vietnam                                                                  X
1099   Ordinary Course Professionals                       Loyens&Loeff                                                                     X
1100   Ordinary Course Professionals                       McCarthy Tetrault                                                  X
1101   Ordinary Course Professionals                       MLL Meyerlustenberger Lachenal Froriep Ltd                                       X
1102   Ordinary Course Professionals                       Nishit Desai                                                                     X
1103   Ordinary Course Professionals                       Norton Rose                                                        X
1104   Ordinary Course Professionals                       Olaniwun Ajayi                                                     X
1105   Ordinary Course Professionals                       Peter Maynard                                                                    X
1106   Ordinary Course Professionals                       Piper Alderman                                                                   X
1107   Ordinary Course Professionals                       Prager Metis CPA's, LLC                                                          X
1108   Ordinary Course Professionals                       Ronny Domröse                                                                    X
1109   Ordinary Course Professionals                       Schurti Partners                                                                 X
1110   Ordinary Course Professionals                       Shardul Amarchand Mangaldas                                        X
1111   Ordinary Course Professionals                       Silicon Valley Accountants                                                       X
1112   Ordinary Course Professionals                       Slaughter & May                                                    X
1113   Ordinary Course Professionals                       TSN LIMITED                                                        X
1114   Ordinary Course Professionals                       Walkers                                                            X
1115   Ordinary Course Professionals                       WilmerHale                                                         X
1116   Other Significant Creditors                         BITVO Inc.                                                                       X
1117   Other Significant Creditors                         Celsius Network LLC                                                X
1118   Other Significant Creditors                         FTX Ventures Partnership                                           X
1119   Significant Competitors                             Binance                                                            X
1120   Significant Competitors                             BlockFi, Inc.                                                      X
1121   Significant Competitors                             Coinbase                                                           X
1122   Significant Competitors                             Crypto.com                                                         X
1123   Significant Competitors                             Gemini                                                             X
1124   Significant Competitors                             Kraken                                                             X
1125   Significant Competitors                             KuKoin                                                                           X
1126   Surety & Letters of Credit                          Lockton Insurance Brokers, LLC                                                   X
1127   Surety & Letters of Credit                          Philadelphia Indemnity Insurance Company                                         X
1128   Surety & Letters of Credit                          RLI Insurance Co.                                                  X
1129   Surety & Letters of Credit                          Sompo International                                                X
1130   Taxing Authority/Governmental/Regulatory Agencies   Alaska Department of Commerce, Community, and                                    X
1131   Taxing Authority/Governmental/Regulatory Agencies   Economic Development                                                             X
1132   Taxing Authority/Governmental/Regulatory Agencies   Amber Eutsey                                                                     X
1133   Taxing Authority/Governmental/Regulatory Agencies   Anne Cappelli                                                                    X
1134   Taxing Authority/Governmental/Regulatory Agencies   Arizona Department of Insurance and Financial Institutions                       X
1135   Taxing Authority/Governmental/Regulatory Agencies   Arkansas Securities Department                                                   X
1136   Taxing Authority/Governmental/Regulatory Agencies   Aurora Fagan                                                                     X
1137   Taxing Authority/Governmental/Regulatory Agencies   Bahamas ACP Secretariat                                                          X
1138   Taxing Authority/Governmental/Regulatory Agencies   Bahamas Agricultural & Industrial Corporation (BAIC)                             X
1139   Taxing Authority/Governmental/Regulatory Agencies   Bahamas Bureau of Standards and Quality (BBSQ)                                   X
1140   Taxing Authority/Governmental/Regulatory Agencies   Bahamas Development Bank                                                         X
1141   Taxing Authority/Governmental/Regulatory Agencies   Bahamas Electricity Corporation (BEC)                                            X

       Taxing Authority/Governmental/Regulatory Agencies   Bahamas Environment Science and Technology Commission (BEST)
1142                                                                                                                                        X
1143   Taxing Authority/Governmental/Regulatory Agencies   Bahamas Investment Authority                                                     X
1144   Taxing Authority/Governmental/Regulatory Agencies   Bahamas Trade Commission                                                         X
1145   Taxing Authority/Governmental/Regulatory Agencies   Bahamasair Holding Ltd                                                           X
1146   Taxing Authority/Governmental/Regulatory Agencies   Bank of The Bahamas                                                X
1147   Taxing Authority/Governmental/Regulatory Agencies   Bo Fears                                                                         X
1148   Taxing Authority/Governmental/Regulatory Agencies   Brandi Smith                                                                     X
1149   Taxing Authority/Governmental/Regulatory Agencies   Brock Jensen                                                                     X
1150   Taxing Authority/Governmental/Regulatory Agencies   Bryan Hsueh                                                                      X
1151   Taxing Authority/Governmental/Regulatory Agencies   Business Licence - Valuation Unit (Bahamas)                                      X
1152   Taxing Authority/Governmental/Regulatory Agencies   Campbell McLaurin                                                                X
1153   Taxing Authority/Governmental/Regulatory Agencies   Catherine Reyer                                                                  X
1154   Taxing Authority/Governmental/Regulatory Agencies   Central Bank of The Bahamas                                        X
1155   Taxing Authority/Governmental/Regulatory Agencies   Christopher German                                                               X
1156   Taxing Authority/Governmental/Regulatory Agencies   Clifford Charland                                                                X
1157   Taxing Authority/Governmental/Regulatory Agencies   Commodity Futures Trading Commission                                             X
1158   Taxing Authority/Governmental/Regulatory Agencies   Compliance Commission (Bahamas)                                                  X
1159   Taxing Authority/Governmental/Regulatory Agencies   Corey Krebs                                                                      X
1160   Taxing Authority/Governmental/Regulatory Agencies   Craig Christensen                                                                X
1161   Taxing Authority/Governmental/Regulatory Agencies   Cyprus Securities and Exchange Commission                          X
1162   Taxing Authority/Governmental/Regulatory Agencies   Danielle Sassoon                                                                 X
1163   Taxing Authority/Governmental/Regulatory Agencies   David Berland                                                                    X
1164   Taxing Authority/Governmental/Regulatory Agencies   David Buchalter                                                                  X
1165   Taxing Authority/Governmental/Regulatory Agencies   David O’Brien                                                                    X
1166   Taxing Authority/Governmental/Regulatory Agencies   David Venerables                                                                 X
1167   Taxing Authority/Governmental/Regulatory Agencies   Delaware State Treasury                                                          X




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1168 Taxing Authority/Governmental/Regulatory Agencies     Department of Insurance and Financial Services                                        X
                                                           Department of Justice - Computer Crime and Intellectual Property
       Taxing Authority/Governmental/Regulatory Agencies
1169                                                       Section                                                                              X
                                                           Department of Justice - National Crypto Currency Enforcement
       Taxing Authority/Governmental/Regulatory Agencies
1170                                                       Team                                                                                 X
1171   Taxing Authority/Governmental/Regulatory Agencies   Department of Justice - Southern District of New York                                X
1172   Taxing Authority/Governmental/Regulatory Agencies   Department of Justice - US Attorney Southern District of Florida                     X
1173   Taxing Authority/Governmental/Regulatory Agencies   Department of Labour (Bahamas)                                                       X
1174   Taxing Authority/Governmental/Regulatory Agencies   Department of Local Government (Bahamas)                                             X
                                                           District of Columbia Department of Insurance, Securities and
       Taxing Authority/Governmental/Regulatory Agencies
1175                                                       Banking                                                                              X
1176   Taxing Authority/Governmental/Regulatory Agencies   Drew Stillman                                                                        X
1177   Taxing Authority/Governmental/Regulatory Agencies   Dubai Virtual Assets Regulatory Authority                                            X
1178   Taxing Authority/Governmental/Regulatory Agencies   Dustin Physioc                                                                       X
1179   Taxing Authority/Governmental/Regulatory Agencies   Elizabeth Pendleton                                                                  X
1180   Taxing Authority/Governmental/Regulatory Agencies   Erin Wilk                                                                            X
1181   Taxing Authority/Governmental/Regulatory Agencies   Ethan McLaughlin                                                                     X
1182   Taxing Authority/Governmental/Regulatory Agencies   Financial Intelligence Unit (Bahamas)                                                X
1183   Taxing Authority/Governmental/Regulatory Agencies   FINMA SRO-Treuhand Suisee                                                            X
1184   Taxing Authority/Governmental/Regulatory Agencies   Florida Office of Financial Regulation                                               X
1185   Taxing Authority/Governmental/Regulatory Agencies   Georgia Department of Banking and Finance                                            X
1186   Taxing Authority/Governmental/Regulatory Agencies   Gibraltar Financial Services Commission                                              X
1187   Taxing Authority/Governmental/Regulatory Agencies   Hawaii Department of Commerce and Consumer Affairs                                   X
1188   Taxing Authority/Governmental/Regulatory Agencies   Hong Kong Securities & Futures Commission                                            X
1189   Taxing Authority/Governmental/Regulatory Agencies   House Committee on Oversight and Reform                                              X
1190   Taxing Authority/Governmental/Regulatory Agencies   Idaho Department of Finance                                                          X
1191   Taxing Authority/Governmental/Regulatory Agencies   Illinois Department of Financial and Professional Regulation                         X
1192   Taxing Authority/Governmental/Regulatory Agencies   Ingrid White                                                                         X
1193   Taxing Authority/Governmental/Regulatory Agencies   Internal Revenue Service                                               X
1194   Taxing Authority/Governmental/Regulatory Agencies   Iowa Division of Banking                                                             X
1195   Taxing Authority/Governmental/Regulatory Agencies   Iris Ikeda                                                                           X
1196   Taxing Authority/Governmental/Regulatory Agencies   Jack McClellan                                                                       X
1197   Taxing Authority/Governmental/Regulatory Agencies   James Westrin                                                                        X
1198   Taxing Authority/Governmental/Regulatory Agencies   Japan Financial Services Agency                                        X
1199   Taxing Authority/Governmental/Regulatory Agencies   Jason Gworek                                                                         X
1200   Taxing Authority/Governmental/Regulatory Agencies   Jay Kim                                                                              X
1201   Taxing Authority/Governmental/Regulatory Agencies   Jeanju Choi                                                                          X
1202   Taxing Authority/Governmental/Regulatory Agencies   Jeffrey Loimo                                                                        X
1203   Taxing Authority/Governmental/Regulatory Agencies   Jennifer Biretz                                                                      X
1204   Taxing Authority/Governmental/Regulatory Agencies   Jesse Moore                                                                          X
1205   Taxing Authority/Governmental/Regulatory Agencies   Jesse Saucillo                                                                       X
1206   Taxing Authority/Governmental/Regulatory Agencies   Jessica Peck                                                                         X
1207   Taxing Authority/Governmental/Regulatory Agencies   Jesus (/Jesse) Saucillo                                                              X
1208   Taxing Authority/Governmental/Regulatory Agencies   Jonathan Misk                                                                        X
1209   Taxing Authority/Governmental/Regulatory Agencies   Jonathan Vruwink                                                                     X
1210   Taxing Authority/Governmental/Regulatory Agencies   Karyn Tierney                                                                        X
1211   Taxing Authority/Governmental/Regulatory Agencies   Kelley Reed                                                                          X
1212   Taxing Authority/Governmental/Regulatory Agencies   Kevin Webb                                                                           X
1213   Taxing Authority/Governmental/Regulatory Agencies   Kristen Anderson                                                                     X
1214   Taxing Authority/Governmental/Regulatory Agencies   Kristin Rice                                                                         X
1215   Taxing Authority/Governmental/Regulatory Agencies   Lucinda Fazio                                                                        X
1216   Taxing Authority/Governmental/Regulatory Agencies   Mark Largent                                                                         X
1217   Taxing Authority/Governmental/Regulatory Agencies   Maryland Department of Labor                                                         X
1218   Taxing Authority/Governmental/Regulatory Agencies   Matthew Dyer                                                                         X
1219   Taxing Authority/Governmental/Regulatory Agencies   Michigan Department of Insurance and Financial Services                              X
1220   Taxing Authority/Governmental/Regulatory Agencies   Ministry of Finance (Bahamas)                                                        X
1221   Taxing Authority/Governmental/Regulatory Agencies   Ministry of Works and Utilities (Bahamas)                                            X
1222   Taxing Authority/Governmental/Regulatory Agencies   Monetary Authority of Singapore                                        X
1223   Taxing Authority/Governmental/Regulatory Agencies   Nebraska Department of Banking and Finance                                           X
1224   Taxing Authority/Governmental/Regulatory Agencies   New Jersey Department of Banking and Insurance                         X
1225   Taxing Authority/Governmental/Regulatory Agencies   New York Department of Financial Services                                            X
1226   Taxing Authority/Governmental/Regulatory Agencies   Nicolas Roos                                                                         X
1227   Taxing Authority/Governmental/Regulatory Agencies   Nina Ruvinsky                                                                        X
1228   Taxing Authority/Governmental/Regulatory Agencies   North Carolina Department of Commerce                                                X
1229   Taxing Authority/Governmental/Regulatory Agencies   North Carolina Department of Justice                                                 X
1230   Taxing Authority/Governmental/Regulatory Agencies   North Dakota Department of Financial Institutions                                    X
1231   Taxing Authority/Governmental/Regulatory Agencies   Office of Internal Audit (Bahamas)                                                   X
                                                           Office of the Attorney General & Ministry of Legal Affairs
       Taxing Authority/Governmental/Regulatory Agencies
1232                                                       (Bahamas)                                                                            X
1233   Taxing Authority/Governmental/Regulatory Agencies   Office of the Auditor General (Bahamas)                                              X
1234   Taxing Authority/Governmental/Regulatory Agencies   Office of the Data Protection Commissioner (Bahamas)                                 X
1235   Taxing Authority/Governmental/Regulatory Agencies   Office of the Prime Minister (Bahamas)                                               X
1236   Taxing Authority/Governmental/Regulatory Agencies   Ohio Department of Commerce                                            X




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1237   Taxing Authority/Governmental/Regulatory Agencies   Ontario Securities Commission                                                          X
1238   Taxing Authority/Governmental/Regulatory Agencies   Oregon Division of Financial Regulation                                                X
1239   Taxing Authority/Governmental/Regulatory Agencies   Patricia Straughn                                                                      X
1240   Taxing Authority/Governmental/Regulatory Agencies   Paul Balzano                                                                           X
1241   Taxing Authority/Governmental/Regulatory Agencies   Peter Frank                                                                            X
1242   Taxing Authority/Governmental/Regulatory Agencies   Peter Marton                                                                           X
1243   Taxing Authority/Governmental/Regulatory Agencies   Registrar Generals Department (Bahamas)                                                X

       Taxing Authority/Governmental/Regulatory Agencies   Rhode Island Department of Business Regulation Financial Services
1244                                                                                                                                             X
1245   Taxing Authority/Governmental/Regulatory Agencies   Richard Childers                                                                      X
1246   Taxing Authority/Governmental/Regulatory Agencies   Samuel Fuller                                                                         X
1247   Taxing Authority/Governmental/Regulatory Agencies   Samuel Raymond                                                                        X
1248   Taxing Authority/Governmental/Regulatory Agencies   Sara Cabral                                                                           X
1249   Taxing Authority/Governmental/Regulatory Agencies   Secretary of State                                                      X
1250   Taxing Authority/Governmental/Regulatory Agencies   Securities and Exchange Commission                                      X
1251   Taxing Authority/Governmental/Regulatory Agencies   Securities Commission of The Bahamas                                    X
1252   Taxing Authority/Governmental/Regulatory Agencies   South Dakota Division of Banking                                                      X
1253   Taxing Authority/Governmental/Regulatory Agencies   State of Connecticut Department of Banking                                            X
1254   Taxing Authority/Governmental/Regulatory Agencies   Stephanie Ryals                                                                       X
1255   Taxing Authority/Governmental/Regulatory Agencies   Steven Buchholz                                                                       X
1256   Taxing Authority/Governmental/Regulatory Agencies   Supreme Court (Bahamas)                                                               X
1257   Taxing Authority/Governmental/Regulatory Agencies   Tammy Seto                                                                            X
1258   Taxing Authority/Governmental/Regulatory Agencies   Texas Department of Banking                                                           X
1259   Taxing Authority/Governmental/Regulatory Agencies   Thane Rehn                                                                            X
1260   Taxing Authority/Governmental/Regulatory Agencies   The Department of Inland Revenue (Bahamas)                                            X
1261   Taxing Authority/Governmental/Regulatory Agencies   The Foreign Account Tax Compliance Act (FATCA) (Bahamas)                              X
1262   Taxing Authority/Governmental/Regulatory Agencies   The National Insurance Board                                            X
1263   Taxing Authority/Governmental/Regulatory Agencies   Tom Stevens                                                                           X
1264   Taxing Authority/Governmental/Regulatory Agencies   Treasury Department (Bahamas)                                                         X
1265   Taxing Authority/Governmental/Regulatory Agencies   Utilities Regulation & Competition Authority (URCA) (Bahamas)                         X
1266   Taxing Authority/Governmental/Regulatory Agencies   VAT Bahamas                                                                           X
1267   Taxing Authority/Governmental/Regulatory Agencies   Vermont Department of Financial Regulation                                            X
1268   Taxing Authority/Governmental/Regulatory Agencies   Virginia Bureau of Financial Institutions                                             X
1269   Taxing Authority/Governmental/Regulatory Agencies   Washington State Department of Financial Institutions                                 X
1270   Taxing Authority/Governmental/Regulatory Agencies   Zak Hingst                                                                            X
1271   U.S. Trustee Office                                 Andrew R. Vara                                                                        X
1272   U.S. Trustee Office                                 Benjamin Hackman                                                                      X
1273   U.S. Trustee Office                                 Christine Green                                                                       X
1274   U.S. Trustee Office                                 Denis Cooke                                                                           X
1275   U.S. Trustee Office                                 Diane Giordano                                                                        X
1276   U.S. Trustee Office                                 Dion Wynn                                                                             X
1277   U.S. Trustee Office                                 Edith A. Serrano                                                                      X
1278   U.S. Trustee Office                                 Hannah M. McCollum                                                                    X
1279   U.S. Trustee Office                                 Holly Dice                                                                            X
1280   U.S. Trustee Office                                 James R. O'Malley                                                                     X
1281   U.S. Trustee Office                                 Jane Leamy                                                                            X
1282   U.S. Trustee Office                                 Joseph Cudia                                                                          X
1283   U.S. Trustee Office                                 Joseph McMahon                                                                        X
1284   U.S. Trustee Office                                 Juliet Sarkessian                                                                     X
1285   U.S. Trustee Office                                 Lauren Attix                                                                          X
1286   U.S. Trustee Office                                 Linda Casey                                                                           X
1287   U.S. Trustee Office                                 Linda Richenderfer                                                                    X
1288   U.S. Trustee Office                                 Michael Panacio                                                                       X
1289   U.S. Trustee Office                                 Nyanquoi Jones                                                                        X
1290   U.S. Trustee Office                                 Ramona Harris                                                                         X
1291   U.S. Trustee Office                                 Richard Schepacarter                                                                  X
1292   U.S. Trustee Office                                 Rosa Sierra-Fox                                                                       X
1293   U.S. Trustee Office                                 Shakima L. Dortch                                                                     X
1294   U.S. Trustee Office                                 Timothy J. Fox, Jr.                                                                   X
1295   UCC Members                                         Acaena Amoros Romero                                                                  X
1296   UCC Members                                         Coincident Capital International, Ltd.                                                X
1297   UCC Members                                         Epsilon Trading                                                                       X
1298   UCC Members                                         GGC International Ltd.                                                                X
1299   UCC Members                                         Larry Qian                                                                            X
1300   UCC Members                                         Octopus Information Ltd.                                                              X
1301   UCC Members                                         Pulsar Global Ltd.                                                                    X
1302   UCC Members                                         Wincent Investment Fund PCC Ltd.                                                      X
1303   UCC Members                                         Wintermute Asia PTE. Ltd.                                                             X
1304   UCC Members                                         Zachary Bruch                                                                         X
1305   UCC Professionals                                   Hunton Andrews Kurth LLP                                                X
1306   Utilities                                           AT&T                                                                    X
1307   Utilities                                           Comcast                                                                 X
1308   Utilities                                           Comcast Business                                                                      X




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1309   Utilities                       Magic Jack                                                                        X
1310   Utilities                       Ooma Inc.                                                                         X
1311   Utilities                       Verizon Wireless                                                   X
1312   Utilities                       Wiline Networks, Inc.                                                            X
1313   Vendors                         101 Second Street, Inc.                                                          X
1314   Vendors                         1Password                                                                        X
1315   Vendors                         2000 CENTER STREET LLC                                                           X
1316   Vendors                         ABG Shaq LLC                                                                     X
1317   Vendors                         Abundantia Creative Llp                                                          X
1318   Vendors                         ADAM                                                                             X
1319   Vendors                         Adobe Systems Inc.                                                 X
1320   Vendors                         Aerobic Design LLC                                                               X
1321   Vendors                         Ai Safety Support Ltd                                                            X
1322   Vendors                         AIRBNB                                                             X
1323   Vendors                         Akin Gump Strauss Hauer & Feld LLP                                 X
1324   Vendors                         Aliyun.com                                                                       X
1325   Vendors                         Amazon                                                             X
1326   Vendors                         Amazon Web Services (AWS)                                          X
1327   Vendors                         American Express                                                   X
1328   Vendors                         Amiba Consulting                                                                 X
1329   Vendors                         Amplitude                                                          X
1330   Vendors                         Amwins                                                                           X
1331   Vendors                         Anderson Kill LLP                                                                X
1332   Vendors                         Anderson Mori & Tomotsune (Japan)                                  X
1333   Vendors                         Andy Fisher                                                                      X
1334   Vendors                         Apple Inc.                                                         X
1335   Vendors                         Apple Search Ads                                                                 X
1336   Vendors                         APPSFLYER INC|C-Corp                                                             X
1337   Vendors                         Armanino                                                                         X
1338   Vendors                         Association for Digital Asset Management, Inc.                                   X
1339   Vendors                         Atlassian Pty Ltd                                                  X
1340   Vendors                         Audio Kinetic                                                                    X
1341   Vendors                         Auradine, Inc.                                                                   X
1342   Vendors                         AVARA LABS CAYMAN HOLDINGS SEZC                                                  X
1343   Vendors                         Name on File                                                                     X
1344   Vendors                         AWS                                                                X
1345   Vendors                         AYG Sales                                                                        X
1346   Vendors                         Azora LLC                                                                        X
1347   Vendors                         Bally Sports Sun                                                                 X
1348   Vendors                         Baquet Pty Ltd                                                                   X
1349   Vendors                         Barstool Sports, Inc                                                             X
1350   Vendors                         Basketball Properties Ltd                                                        X
1351   Vendors                         Bhouse USA LLC                                                                   X
1352   Vendors                         BitGo                                                                            X
1353   Vendors                         Bleacher Report - Warner Media                                                   X
1354   Vendors                         Blockchain Australia                                                             X
1355   Vendors                         BlockScore, Inc.                                                                 X
1356   Vendors                         Bloomberg                                                          X
1357   Vendors                         Boca FIA Conference                                                              X
1358   Vendors                         Bond Collective                                                                  X
1359   Vendors                         Brasil Motorsport                                                                X
1360   Vendors                         Braze                                                              X
1361   Vendors                         Brex Credit Card                                                                 X
1362   Vendors                         Brinc Drones                                                                     X
1363   Vendors                         BSO Network Solutions Ltd                                                        X
1364   Vendors                         BTIG                                                                             X
1365   Vendors                         Bullish Studios                                                                  X
1366   Vendors                         Burgopak                                                                         X
1367   Vendors                         CAA Sports - Shohei Ohtani                                                       X
1368   Vendors                         CAF America                                                                      X
1369   Vendors                         Canopy Labs                                                                      X
1370   Vendors                         Canopy RE, Inc                                                                   X
1371   Vendors                         Center for Applied Rationality                                                   X
1372   Vendors                         Chainalysis Inc.                                                   X
1373   Vendors                         Chartwell                                                          X
1374   Vendors                         CHICAGO MERCANTILE EXCHANGE INC.                                   X
1375   Vendors                         Cloudflare Inc                                                     X
1376   Vendors                         Coachella                                                                        X
1377   Vendors                         Coindesk                                                           X
1378   Vendors                         CoinMara SAFE                                                                    X
1379   Vendors                         COJO Strategies                                                                  X
1380   Vendors                         Colormatics                                                                      X
1381   Vendors                         Commercial Loan Clearing                                                         X




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 No.                Category                          Entity Name (Full Name as per PIIL)           Connection   No Connection
1382   Vendors                       Conaway Graves Group                                                              X
1383   Vendors                       Conde Nast                                                         X
1384   Vendors                       Congressional Leadership Fund                                                    X
1385   Vendors                       Corporate & Trust Services                                         X
1386   Vendors                       Creators Agency LLC                                                              X
1387   Vendors                       Crypto Council for Innovation                                                    X
1388   Vendors                       CSL MOBILE LIMITED HONG KONG                                                     X
1389   Vendors                       Dara Studios                                                                     X
1390   Vendors                       DATADOG, INC.                                                                    X
1391   Vendors                       Deacons Lawyers                                                                  X
1392   Vendors                       Denstu McGarry Bowen                                               X
1393   Vendors                       Dentsu X                                                           X
1394   Vendors                       Diablo Holdings - 2000 Center                                                    X
1395   Vendors                       Digital Finance Group Co.                                                        X
1396   Vendors                       DJ Bam LLC - Sunjay Matthews                                                     X
1397   Vendors                       Dlocal LLP                                                         X
1398   Vendors                       DLT Climate Tech, Inc.                                                           X
1399   Vendors                       Done Deal Promotions                                                             X
1400   Vendors                       Door Dash                                                                        X
1401   Vendors                       DoorDash US                                                                      X
1402   Vendors                       Dotdash                                                            X
1403   Vendors                       Drawn Sword Limited                                                              X
1404   Vendors                       Duane Morris LLP                                                   X
1405   Vendors                       E3 Technology, Inc.                                                              X
1406   Vendors                       Elite Protection LLC                                                             X
1407   Vendors                       Elwood                                                                           X
1408   Vendors                       Emerson Estate                                                                   X
1409   Vendors                       Emerson Land Company                                                             X
1410   Vendors                       Emondo design, vl. Ivana Milicic.                                                X
1411   Vendors                       Epik Holdings Inc                                                  X
1412   Vendors                       Equinix                                                            X
1413   Vendors                       Equinix - JPY                                                      X
1414   Vendors                       Equinix INC                                                        X
1415   Vendors                       Equinox Group LLC                                                  X
1416   Vendors                       Equity and Transformation                                                        X
1417   Vendors                       Eventus Systems, Inc.                                                            X
1418   Vendors                       EVERYWHERE WIRE                                                                  X
1419   Vendors                       Excel Sports Management                                                          X
1420   Vendors                       Facebook/Meta                                                      X
1421   Vendors                       FACTORY PR LLC                                                                   X
1422   Vendors                       Fast Forward                                                       X
1423   Vendors                       Federal Trade Commission FTC                                                     X
1424   Vendors                       FEDEX                                                              X
1425   Vendors                       Fenwick & West                                                     X
1426   Vendors                       Fenwick & West - FTX Trading Ltd                                   X
1427   Vendors                       Fenwick & West - FTX US                                            X
1428   Vendors                       Flatiron Labs, Inc.                                                              X
1429   Vendors                       Florida International University Foundation                                      X
1430   Vendors                       Flutterwave                                                        X
1431   Vendors                       Food Panda                                                         X
1432   Vendors                       FOX BROADCASTING COMPANY                                                         X
1433   Vendors                       Fox Sports                                                         X
1434   Vendors                       FULL COURT PRESS COMMUNICATIONS, INC                                             X
1435   Vendors                       Fullstory                                                          X
1436   Vendors                       Functional Software Inc, dba Sentry                                X
1437   Vendors                       Furia ESports LLC                                                                X
1438   Vendors                       Futures Industry Association                                                     X
1439   Vendors                       GameStop                                                           X
1440   Vendors                       GB Solutions - Geoff Bough                                                       X
1441   Vendors                       Gibson, Dunn & Crutcher LLP                                        X
1442   Vendors                       GitHub                                                             X
1443   Vendors                       Glushon Sports Management                                                        X
1444   Vendors                       GoDaddy                                                            X
1445   Vendors                       Golden State Warriors                                                            X
1446   Vendors                       Golden State Warriors Community Foundation                                       X
1447   Vendors                       Goldfinger                                                                       X
1448   Vendors                       Google                                                             X
1449   Vendors                       Google Cloud Platform                                                            X
1450   Vendors                       Grafit Studios - Roman Tulinov Pe                                                X
1451   Vendors                       Grafted Growth                                                                   X
1452   Vendors                       Grand Prix Tickets                                                 X
1453   Vendors                       Group One Holdings                                                 X
1454   Vendors                       Gusto                                                              X




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1455   Vendors                       HashPort Inc.                                                                      X
1456   Vendors                       Name on File                                                        X
1457   Vendors                       Herman Miller Design                                                X
1458   Vendors                       Hogan Lovells International LLP                                     X
1459   Vendors                       Honeycomb                                                           X
1460   Vendors                       Hotels.com                                                                        X
1461   Vendors                       I2C In.                                                             X
1462   Vendors                       ICC                                                                 X
1463   Vendors                       IFS Markets                                                                       X
1464   Vendors                       IKOABD LLC                                                                        X
1465   Vendors                       Inca Digital, Inc                                                                 X
1466   Vendors                       INCO, LLC                                                                         X
1467   Vendors                       India Strategic Partnership Inc.                                                  X
1468   Vendors                       Insight Direct USA Inc                                                            X
1469   Vendors                       insight software CO                                                               X
1470   Vendors                       Investing Made Simple                                                             X
1471   Vendors                       Invisible North                                                                   X
1472   Vendors                       ipower                                                              X
1473   Vendors                       Isbl International Specialty Brokers Limited                                      X
1474   Vendors                       Jetstream Partners Limited                                                        X
1475   Vendors                       JLL Law Firm                                                                      X
1476   Vendors                       Name on File                                                                      X
1477   Vendors                       Jorge Luis Lopez Law Firm                                                         X
1478   Vendors                       Jumio Corporation                                                   X
1479   Vendors                       Justworks                                                           X
1480   Vendors                       Kandji                                                                            X
1481   Vendors                       Katten Muchin Rosenman LLP                                                        X
1482   Vendors                       Kevin Haeberle                                                                    X
1483   Vendors                       Kim & Chang                                                         X
1484   Vendors                       King and Wood Mallesons (HK)                                        X
1485   Vendors                       Latham & Watkins LLP                                                X
1486   Vendors                       Learfield                                                           X
1487   Vendors                       Ledger & Cobie Enterprises dba UpOnly                                             X
1488   Vendors                       LedgerX LLC                                                                       X
1489   Vendors                       Leo Trippi SA                                                                     X
1490   Vendors                       Name on File                                                                      X
1491   Vendors                       Lexis Nexis                                                         X
1492   Vendors                       Liftoff Mobile, Inc.                                                X
1493   Vendors                       Light the Way - The Campaign for Berkeley                                         X
1494   Vendors                       Limit Break                                                                       X
1495   Vendors                       Lincoln Place Inc.                                                                X
1496   Vendors                       Lockton Insurance Brokers, LLC                                                    X
1497   Vendors                       Looker (Google LLC)                                                               X
1498   Vendors                       Lorem Ipsum - AP                                                                  X
1499   Vendors                       Lowenstein Sandler LLP                                              X
1500   Vendors                       Lunch Money Group Inc - Anthony Pompliano                                         X
1501   Vendors                       M Group                                                             X
1502   Vendors                       Maerki Baumann Und Co.                                                            X
1503   Vendors                       Mammoth Media, Inc.                                                               X
1504   Vendors                       Max Maher Show LLC                                                                X
1505   Vendors                       Maxlaw Global                                                                     X
1506   Vendors                       Mayfield XV                                                                       X
1507   Vendors                       McCarthy Tetrault                                                   X
1508   Vendors                       McGarry Bowen, LLC                                                  X
1509   Vendors                       Medium Rare Live                                                                  X
1510   Vendors                       Mercedes-Benz Grand Prix Limited                                    X
1511   Vendors                       Message Global                                                                    X
1512   Vendors                       Meta Platforms, Inc.                                                X
1513   Vendors                       MG Trust                                                                          X
1514   Vendors                       Miami Dade County                                                                 X
1515   Vendors                       Miami Heat Limited Partnership                                      X
1516   Vendors                       Name on File                                                                      X
1517   Vendors                       MicroLedgers                                                                      X
1518   Vendors                       Microsoft                                                           X
1519   Vendors                       Microsoft Advertising                                                             X
1520   Vendors                       Microsoft Online Inc                                                X
1521   Vendors                       MLB Advanced Media                                                                X
1522   Vendors                       Name on File                                                                      X
1523   Vendors                       Monumental Sports and Entertainment Foundation                                    X
1524   Vendors                       Moon Overlord                                                                     X
1525   Vendors                       Mooncolony Ltd                                                                    X
1526   Vendors                       Morgan Lewis                                                        X
1527   Vendors                       Morrison and Foerster LLP                                           X




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1528   Vendors                       MPG Live                                                                          X
1529   Vendors                       NA League of Legends Championship Series LLC                                      X
1530   Vendors                       Naomi Osaka                                                                       X
1531   Vendors                       nCipher Security                                                                  X
1532   Vendors                       Name on File                                                                      X
1533   Vendors                       Neodyme                                                                           X
1534   Vendors                       Nerd St. Gamers                                                                   X
1535   Vendors                       New Revolution Media                                                              X
1536   Vendors                       Nifty Metaverse Inc                                                               X
1537   Vendors                       Nishith Desai Associates                                                          X
1538   Vendors                       NJ Scholars                                                                       X
1539   Vendors                       NP Digital                                                         X
1540   Vendors                       NYSE                                                                             X
1541   Vendors                       Office Revolution                                                                X
1542   Vendors                       OIC of South Florida                                                             X
1543   Vendors                       O'Leary Productions Inc.                                                         X
1544   Vendors                       One Workplace L. Ferrari                                                         X
1545   Vendors                       Open Fortune - Fortune Media                                                     X
1546   Vendors                       OPUS Partners Co. Ltd                                                            X
1547   Vendors                       Orrick, Herrington & Sutcliffe LLP                                 X
1548   Vendors                       Osaka Exchange                                                                   X
1549   Vendors                       Osler, Hoskin & Harcourt LLP                                       X
1550   Vendors                       OtterSec LLC                                                                     X
1551   Vendors                       PCCW Netvigator Now                                                              X
1552   Vendors                       Perkins Coie LLP                                                   X
1553   Vendors                       Pickle Software LLC                                                              X
1554   Vendors                       Piper Alderman Law                                                               X
1555   Vendors                       Plaid Financial Ltd.                                               X
1556   Vendors                       Play Magnus AS                                                                   X
1557   Vendors                       Playground Ventures                                                              X
1558   Vendors                       Playup Limited                                                                   X
1559   Vendors                       Pomp Podcast - Lunch Money Group                                                 X
1560   Vendors                       Pricewater House Coopers LLP                                                     X
1561   Vendors                       Prime Trust LLC                                                    X
1562   Vendors                       Print Run Promotions LTD                                                         X
1563   Vendors                       Printfection                                                                     X
1564   Vendors                       ProCo Global, Inc. d/b/a Chartwell Compliance                                    X
1565   Vendors                       PSYOP Productions LLC                                                            X
1566   Vendors                       PWC - S.A. Evangelou and Co LLC                                                  X
1567   Vendors                       QReg Advisory Limited                                                            X
1568   Vendors                       Quicknode                                                          X
1569   Vendors                       Quinn Emanuel Urquhart & Sullivan, LLP                             X
1570   Vendors                       R8G UK Limited                                                                   X
1571   Vendors                       Rational 360                                                                     X
1572   Vendors                       Raybloch                                                                         X
1573   Vendors                       Reddit                                                             X
1574   Vendors                       Redmond Construction Group                                                       X
1575   Vendors                       Refactor Capital                                                                 X
1576   Vendors                       Refinitiv                                                          X
1577   Vendors                       Refinitiv US, LLC                                                  X
1578   Vendors                       Revolut Ltd                                                        X
1579   Vendors                       Rich Feuer Anderson                                                              X
1580   Vendors                       Rippling                                                                         X
1581   Vendors                       Rivers & Moorehead PLLC                                                          X
1582   Vendors                       Robert Lee & Associates, LLP                                                     X
1583   Vendors                       Roku                                                               X
1584   Vendors                       Name on File                                                                     X
1585   Vendors                       Ruin the Game Events                                                             X
1586   Vendors                       Ryan Salame                                                        X
1587   Vendors                       SafetyPay                                                                        X
1588   Vendors                       Saigon Dragon Studios                                                            X
1589   Vendors                       Salameda Capital LTD                                                             X
1590   Vendors                       Name on File                                                                     X
1591   Vendors                       SALT Venture Group LLC                                                           X
1592   Vendors                       Sardine Ai                                                                       X
1593   Vendors                       Sc30 Inc.                                                                        X
1594   Vendors                       Scratchy Productions, Inc.                                                       X
1595   Vendors                       Sentry                                                                           X
1596   Vendors                       Sequor Trends Limited|Foreign Vendor                                             X
1597   Vendors                       Serendipity Consulting                                                           X
1598   Vendors                       Shadow Lion                                                                      X
1599   Vendors                       Sidley Austin LLP                                                  X
1600   Vendors                       Sierra Wireless                                                    X




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 No.                Category                          Entity Name (Full Name as per PIIL)           Connection   No Connection
1601   Vendors                       Signature Bank                                                     X
1602   Vendors                       Siimpl - Firesight Technologies                                                  X
1603   Vendors                       Silver Miller                                                                    X
1604   Vendors                       Skadden, Arps, Slate, Meagher & Flom LLP                           X
1605   Vendors                       Skyline Construction                                                             X
1606   Vendors                       Slack Technologies, Inc                                            X
1607   Vendors                       Snap Inc                                                           X
1608   Vendors                       Sol Stores                                                                       X
1609   Vendors                       Solana Spaces                                                                    X
1610   Vendors                       Solidus Labs                                                       X
1611   Vendors                       Spiralyze LLC                                                                    X
1612   Vendors                       SSB Trust                                                          X
1613   Vendors                       Stanford Law School                                                              X
1614   Vendors                       Stripe, Inc.                                                       X
1615   Vendors                       Sullivan & Cromwell LLP                                            X
1616   Vendors                       Swift Media Entertainment - TSM FTX                                              X
1617   Vendors                       Swift Media Entertainment Inc.                                                   X
1618   Vendors                       TagNitecrest Ltd                                                                 X
1619   Vendors                       Takashi Hidaka                                                                   X
1620   Vendors                       Takedown Media                                                                   X
1621   Vendors                       Talent Resources Sports                                                          X
1622   Vendors                       TaxBit                                                             X
1623   Vendors                       Teknos Associates LLC                                                            X
1624   Vendors                       Tevora                                                                           X
1625   Vendors                       The Block Crypto                                                                 X
1626   Vendors                       The Drop Media                                                                   X
1627   Vendors                       The Drop NFT Media, Inc                                                          X
1628   Vendors                       The Executive Centre                                               X
1629   Vendors                       The Executive Centre Singapore Pte Ltd                             X
1630   Vendors                       THE GOODLY INSTITUTE                                                             X
1631   Vendors                       The Metropolitan Museum of Art                                                   X
1632   Vendors                       The Working Policy Project                                                       X
1633   Vendors                       Thirdverse, Co, Ltd                                                              X
1634   Vendors                       TigerWit                                                                         X
1635   Vendors                       TikTok                                                             X
1636   Vendors                       Time Magazine                                                      X
1637   Vendors                       Time Magazine UK LTD                                                             X
1638   Vendors                       Name on File                                                                     X
1639   Vendors                       Name on File                                                                     X
1640   Vendors                       TL International                                                                 X
1641   Vendors                       TONGLE X LLC                                                                     X
1642   Vendors                       Top Drawer Merch                                                                 X
1643   Vendors                       TOP Worldwide, LLC                                                               X
1644   Vendors                       TransPerfect (Chancery Staffing)                                                 X
1645   Vendors                       Treasury Forfeiture Fund                                                         X
1646   Vendors                       Tribe Payments Ltd                                                               X
1647   Vendors                       Trident                                                                          X
1648   Vendors                       TriNet                                                                           X
1649   Vendors                       Trip Actions, Inc.                                                               X
1650   Vendors                       Triton One Limited                                                 X
1651   Vendors                       TRM Labs, Inc.                                                                   X
1652   Vendors                       Turner Digital AD Sales (INC)                                                    X
1653   Vendors                       Twilio                                                             X
1654   Vendors                       Twitter                                                            X
1655   Vendors                       Two More Glasses                                                                 X
1656   Vendors                       UBS Financial Services Inc                                         X
1657   Vendors                       UJH Enterprise, Inc                                                              X
1658   Vendors                       Underground Creative                                                             X
1659   Vendors                       United Healthcare                                                  X
1660   Vendors                       USI                                                                X
1661   Vendors                       Valuz LLP                                                                        X
1662   Vendors                       VARA                                                                             X
1663   Vendors                       Name on File                                                                     X
1664   Vendors                       VKR Insights                                                                     X
1665   Vendors                       Wasserman                                                                        X
1666   Vendors                       Wasserman - Operating                                                            X
1667   Vendors                       Wasserman Client Trust                                                           X
1668   Vendors                       We Are One World                                                                 X
1669   Vendors                       Weekly Open                                                                      X
1670   Vendors                       West Realm Shires Services Inc                                     X
1671   Vendors                       West Realm Shires, Inc. WRS                                        X
1672   Vendors                       WH Sports                                                                        X
1673   Vendors                       Wifi Bread                                                                       X




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     No.                    Category                                     Entity Name (Full Name as per PIIL)           Connection   No Connection
    1674   Vendors                                       William Trevor Lawrence dba MMBOC, LLC                                           X
    1675   Vendors                                       Willkie Farr & Gallagher LLP                                      X
    1676   Vendors                                       WME Entertainment                                                 X
    1677   Vendors                                       Wondros                                                                         X
    1678   Vendors                                       W-SF Goldfinger Owner VIII, LLC                                                 X
    1679   Vendors                                       XReg Consulting- GBP                                                            X
    1680   Vendors                                       Name on File                                                                    X
1 Pursuant to the Interim Order (I) Authorizing the Debtors to Maintain A Consolidated List of Creditors in Lieu of Submitting a Separate
Matrix for Each Debtor, (II) Authorizing the Debtors to Redact or Withhold Certain Confidential Information of Customers and Personal
Information of Individuals on an Interim Basis and (III) Granting Certain Related Relief [D.I. 157], the names of customers and individuals
whom the Debtors believe may be citizens of the United Kingdom or a European Union member country are redacted.

2Mr. Salame was an EY US LLP intern between approximately January 2014 and February 2014, and an EY US LLP full-time employee be-
tween approximately October 2015 and August 2017.




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